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)onna Kay McKinney                                                                            2 CITPPS-SAC
3exar County District Clerk
~ccepted By: Edgar Garcia
                                                     2017CI02907
                                               CAUSE NO. _ _ _ _ __

                FRANCISCO RIZO AND                             §               IN THE DISTRICT COURT OF
              · HERMELINDA RIZO,                               §
                    Plaintiffs,                                §
                                                               §
                v.                                             §                    BEXAR COUNTY, TEXAS
                                                               §
                STATE AUTO PROPERTY &                          §
                CASUALTY INSURANCE                             §
                COMPANY AND DUSTIN CHARLES                     §
                BRADFORD,                                      §
                                                                              73RD
                     Defendants.                               §                 _ _ JUDICIAL DISTRICT



                                           PLAINTIFFS' ORIGINAL PETITION


              TO THE HONORABLE JUDGE OF SAID COURT:

                        COME NOW, Francisco Rizo and Hermelinda Rizo ("Plaintiffs") and file this, Plaint!ff.s·'

               Original Petition, complaining of State Auto Property & Casualty Insurance Company ("State

              Auto") and Dustin Charles Bradford ("Bradford") (hereinafter collectively referred to as

              "Defendants"), and for cause of action, Plaintiffs would respectfully show this Honorable Court

              the following:

                                              DISCOVERY CONTROL PLAN

               I.       Plaintiffs intend for discovery to be conducted under Level 3 of Rule !90 of the Texas

                        Rules of Civil Procedure. This case involves complex issues and will require extensive

                       discovery. Therefore, Plaintiffs will ask the Court to order that discovery be conducted in

                       accordance with a discovery control plan tailored to the particular circumstances of this

                       suit.


                                                            EXHIBIT
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                                           PARTIES

2.   Plaintiffs Francisco Rizo and Hermelinda Rizo are individuals residing in Bexar County,

     Texas.

3.   Defendant State Auto is a foreign insurance company engagmg m the business of

     insurance in the State of Texas. This defendant may be served with personal process, by

     a process server, by serving its Attorney for Service: Corporation Service Company, 211

     East 7th Street, Suite 620, Austin, Texas 78701.

4.   Defendant Dustin Charles Bradford is an individual residing in and domiciled in the State

     of Ohio. This defendant may be served with personal process by a process server at his

     place of residence at 5191 Willow Grove Place North, Dublin, Ohio 43017.

                                       JURISDICTION

5.   The Court has jurisdiction over this cause of action because the amount in controversy is

     within the jurisdictional limits of the Court. Plaintiffs are seeking monetary relief over

     $100,000 but not more than $200,000. Plaintiffs reserve the right to amend their petition

     during and/or after the discovery process.

6.   The Court has jurisdiction over Defendant State Auto because this defendant is a foreign

     insurance company that engages in the business of insurance in the State of Texas, and

     Plaintiffs' causes of action arise out of this defendant's business activities in the State of

     Texas.

7.   The Court has jurisdiction over Defendant Bradford because this defendant engages in

     the business of adjusting insurance claims in the State of Texas, and Plaintiffs' causes of

     action arise out of this defendant's business activities in the State of Texas.




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                                             VENUE

8.     Venue is proper in Bexar County, Texas, because the insured property is situated m

       Bexar County, Texas. TEX. CIV. PRAC. & REM. CODE § 15.032.

                                             FACTS

9.     Plaintiffs are the owners of a Texas Homeowners' Insurance Policy (hereinafter referred

       to as "the Policy"), which was issued by State Auto.

I 0.   Plaintiffs own the insured property, which is specifically located at 8434 Big Creek

       Drive, San Antonio, Texas 78242, in Bexar County (hereinafter referred to as "the

       Prope1ty").

II.    State Auto sold the Policy insuring the Property to Plaintiffs.

12.    On or about April25, 2015, a hail storm and/or windstorm struck Bexar County, Texas,

       causing severe damage to homes and businesses throughout the area, including Plaintiffs'

       residence (hereinafter referred to as "the Storm"). Specifically, Plaintiffs' roof sustained

       extensive damage during the Storm. Plaintiffs also sustained additional structural and

       exterior damage during the Storm including, but not limited to, the exterior walls. Water

       intrusion tlu·ough the roof caused significant damage throughout the entire home

       including, but not limited to, the home's ceilings, walls, insulation, and flooring. Up

       noticing the damages, Plaintiffs filed a claim with their insurance company, State Auto,

       for the damages to their home caused by the hail storm and/or windstorm.

13.    Plaintiffs submitted a claim to State Auto against the Policy for Roof Damage, Structural

       Damage, Water Damage, and Wind Damage the Property sustained as a result of the hail

       storm and/or windstorm.




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14.   Plaintiffs asked that State Auto cover the cost of repairs to the Property, including but not

      limited to, repair and/or replacement of the roof and repair of the exterior, structural,

      and/or interior water damages to the Property, pursuant to the Policy.

15.   Defendant State Auto assigned Defendant Bradford as the individual adjuster on the

      claim. The adjuster assigned to Plaintiffs' claim was improperly trained and failed to

      perform a thorough investigation of Plaintiffs' claim. Bradford conducted a substandard

      investigation of Plaintiffs' claim. The inadequacy of Defendant Bradford's investigation

      is further evidenced by his letter to Plaintiffs dated November 19, 2015, which asserts

      vague and ambiguous reasons for the denial of the claim and for the items that were

      damaged, and thus no payment would be made on their claim. Although Bradford was

      aware of Plaintiffs' reported potential damages covered by the Policy, he made

      determinations as to the amount of Plaintiffs' claim without conducting thorough and

      reasonable investigation and/or inspection of Plaintiffs' damages. Ultimately, Defendant

      Bradford determined that the damages were not covered under the Policy, thus no

      payment would be made on the claim. Bradford's inadequate investigation was relied

      upon by Defendant State Auto in this action and resulted in Plaintiffs' claim being

      undervalued and underpaid.

16.   Defendant State Auto, along with its personnel, failed to thoroughly review and properly

      oversee the work of the assigned claims representative and adjusters, including Defendant

      Bradford, ultimately approving an improper adjustment of and an inadequate, unfair

      settlement of Plaintiffs' claim.    Further, Defendants misrepresented that Plaintiffs'

      damages were not covered under the Policy, when the losses, in fact, were properly

      covered damages. Defendant State Auto denied Plaintiffs' claim without performing a


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      reasonable investigation. As a result of these wrongful acts and omissions set forth above

      and further described herein, Plaintiffs were considerably underpaid on their claim and

      have suffered damages.

17.   Together, Defendants State Auto and Bradford set out to deny and/or underpay on

      properly covered damages. As a result of this unreasonable investigation, including the

      under-scoping of Plaintiffs' Storm damages during the investigation and failure to

      provide full coverage for the damages sustained, Plaintiffs' claim was improperly

      adjusted, and they were denied adequate and sufficient payment to repair their home.

      The mishandling of Plaintiffs' claim has also caused a delay in their ability to fully repair

      their home, which has resulted in additional damages. To this date, Plaintiffs have yet to

      receive the full payment to which they are entitled under the Policy.

18.   As detailed in the paragraphs below, State Auto wrongfully denied Plaintiffs' claim for

      repairs of the Prope1ty, even though the Policy provided coverage for losses such as those

      suffered by Plaintiffs. Furthermore, State Auto underpaid some of Plaintiffs' claims by

      not providing full coverage for the damages sustained by Plaintiffs, as well as under-

      scoping the damages during its investigation.

19.   To date, State Auto continues to delay in the payment for the damages to the property.

      As such, Plaintiffs have not been paid in full for the damages to their home.

20.   Defendant State Auto failed to perform its contractual duties to adequately compensate

      Plaintiffs under the terms of the Policy. Specifically, it refused to pay the full proceeds of

      the Policy, although due demand was made for proceeds to be paid in an amount

      sufficient to cover the damaged prope1ty, and all conditions precedent to recovery upon




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      the Policy had been carried out and accomplished by Plaintiffs. State Auto's conduct

      constitutes a breach of the insurance contract between State Auto and Plaintiffs.

21.   Defendants State Auto and Bradford misrepresented to Plaintiffs that the damage to the

      Property was not covered under the Policy, even though the damage was caused by a

      covered occurrence.     Defendants State Auto's and Bradford's conduct constitutes a

      violation of the Texas Insurance Code, Unfair Settlement Practices.         TEX. INS. CODE

      §541.060(a)(!).

22.   Defendants State Auto and Bradford failed to make an attempt to settle Plaintiffs' claim

      in a fair manner, although they were aware of their liability to Plaintiffs under the Policy.

      Defendants State Auto's and Bradford's conduct constitutes a violation of the Texas

      Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(2)(A).

23.   Defendants State Auto and Bradford failed to explain to Plaintiffs the reasons for their

      offer of an inadequate settlement.     Specifically, Defendants State Auto and Bradford

      failed to offer Plaintiffs adequate compensation, without any explanation why full

      payment was not being made. Furthermore, Defendants State Auto and Bradford did not

      communicate that any future settlements or payments would be forthcoming to pay for

      the entire losses covered under the Policy, nor did they provide any explanation for the

      failure to adequately settle Plaintiffs' claim.   Defendants State Auto's and Bradford's

      conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

      INS. CODE §541.060(a)(3).

24.   Defendants State Auto and Bradford failed to affirm or deny coverage of Plaintiffs' claim

      within a reasonable time.    Specifically, Plaintiffs did not receive timely indication of

      acceptance or rejection, regarding the full and entire claim, in writing from Defendants


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      State Auto and Bradford. Defendants State Auto's and Bradford's conduct constitutes a

      violation of the Texas Insurance Code, Unfair Settlement Practices.        TEX. INS. CODE

      §541.060(a)( 4).

25.   Defendants State Auto and Bradford refused to fully compensate Plaintiffs, under the

      terms of the Policy, even though Defendants State Auto and Bradford failed to conduct a

      reasonable investigation. Specifically, Defendants State Auto and Bradford performed an

      outcome-oriented investigation of Plaintiffs' claim, which resulted in a biased, unfair, and

      inequitable evaluation of Plaintiffs' losses on the Property. Defendants State Auto's and

      Bradford's conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a)(7).

26.   Defendant State Auto failed to meet its obligations under the Texas Insurance Code

      regarding timely acknowledging Plaintiffs' claim, beginning an investigation of

      Plaintiffs' claim, and requesting all information reasonably necessary to investigate

      Plaintiffs' claim, within the statutorily mandated time of receiving notice of Plaintiffs'

      claim. State Auto's conduct constitutes a violation of the Texas Insurance Code, Prompt

      Payment of Claims. TEX. INS. CODE §542.055.

27.   Defendant State Auto failed to accept or deny Plaintiffs' full and entire claim within the

      statutorily mandated time of receiving all necessary information. State Auto's conduct

      constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

      INS. CODE §542.056.

28.   Defendant State Auto failed to meet its obligations under the Texas Insurance Code

      regarding payment of claim without delay. Specifically, it has delayed full payment of

      Plaintiffs' claim longer than allowed and, to date, Plaintiffs have not received full


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      payment for their claim.       State Auto's conduct constitutes a violation of the Texas

      Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.

29.   From and after the time Plaintiffs' claim was presented to Defendant State Auto, the

      liability of State Auto to pay the full claim in accordance with the terms of the Policy was

      reasonably clear. However, State Auto has refused to pay Plaintiffs in full, despite there

      being no basis whatsoever on which a reasonable insurance company would have relied

      to deny the full payment. State Auto's conduct constitutes a breach of the common law

      duty of good faith and fair dealing.

30.   Defendants State Auto and Bradford knowingly or recklessly made false representations,

      as described above, as to material facts and/or knowingly concealed all or part of material

      information Jiom Plaintiffs.

31.   As a result of Defendants State Auto's and Bradford's wrongful acts and omissions,

      Plaintiffs were forced to retain the professional services of the attorney and law firm who

      are representing them with respect to these causes of action.

32.   Plaintiffs' experience is not an isolated case.      The acts and omiSSions State Auto

      committed in this case, or similar acts and omissions, occur with such frequency that they

      constitute a general business practice of State Auto with regard to handling these types of

      claims. State Auto's entire process is unfairly designed to reach favorable outcomes for

      the company at the expense of the policyholders.




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                                   CAUSES     OF ACTION:

                    CAUSES OF ACTION AGAINST DEFENDANT BRADFORD
                     NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            UNFAIR SETTLEMENT PRACTICES

33.   Defendant State Auto assigned Defendant Bradford to adjust the claim.            Defendant

      Bradford was improperly trained to handle claims of this nature and performed an

      umeasonable investigation of Plaintiffs' damages. During his investigation, the adjuster

      failed to properly assess Plaintiffs' hail storm and/or windstorm damages. The adjuster

      also omitted covered damages fi·om his report, including many of Plaintiffs' interior

      damages. In addition, the damages that the adjuster did include in the estimate were

      severely underestimated.

34.   Defendant Bradford's conduct constitutes multiple violations of the Texas Insurance

      Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under

      this article are made actionable by TEX. INS. CODE §541.151.

35.   Defendant Bradford is individually liable for his unfair and deceptive acts, irrespective of

      the fact he was acting on behalf of State Auto, because he is a "person" as defined by

      TEX. INS. CoDE §541.002(2).        The term "person" is defined as "any individual,

      corporation, association, partnership, reciprocal or interinsurance exchange, Lloyds plan,

      fraternal benefit society, or other legal entity engaged in the business of insurance,

      including an agent, broker, adjuster or life and health insurance counselor." TEX. INS.

      CODE §541.002(2) (emphasis added; see also Liberty Mutual Insurance Co. v. Garrison

      Contractors, Inc., 966 S.W.2d 482, 484 (Tex. 1998)) (holding an insurance company

      employee to be a "person" for the purpose of bringing a cause of action against him or

      her under the Texas Insurance Code and subjecting him or her to individual liability).


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36.   Falsehoods and misrepresentations may be communicated by actions as well as by the

      spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

      Defendant Bradford's misrepresentations by means of deceptive conduct include, but are

      not limited to: (I) failing to conduct a reasonable inspection and investigation of

      Plaintiffs' damages; (2) stating that Plaintiffs' damages were less severe than they in fact

      were; (3) using his own statements about the non-severity of the damage as a basis for

      denying properly covered damages and/or underpaying damages; and (4) failing to

      provide an adequate explanation for the inadequate compensation Plaintiffs received.

      Defendant Bradford's unfair settlement practice, as described above and the example

      given herein, of misrepresenting to Plaintiffs material facts relating to the coverage at

      issue, constitutes an unfair method of competition and an unfair and deceptive act or

      practice in the business of insurance. TEX. INS. CODE §541.060(a)(l).

37.   Defendant Bradford's unfair settlement practice, as described above, of failing to attempt

      in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even

      though liability under the Policy is reasonably clear, constitutes an unfair method of

      competition and an unfair and deceptive act or practice in the business of insurance. TEX.

      INS.   CODE §541.060(a)(2)(A).

38.   Defendant Bradford failed to explain to Plaintiffs the reasons for his offer of an

      inadequate settlement.     Specifically, Defendant Bradford failed to offer Plaintiffs

      adequate compensation without any explanation as to why full payment was not being

      made.     Furthermore, Defendant did not communicate that any future settlements or

      payments would be forthcoming to pay for the entire losses covered under the Policy, nor

      did he provide any explanation for the failure to adequately settle Plaintiffs' claim. The


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       unfair settlement practice of Defendant Bradford as described above, of tailing to

       promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in

       relation to the facts or applicable law, for the offer of a compromise settlement of

       Plaintiffs' claim, constitutes an unfair method of competition and an unfair and deceptive

       act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

 39.   Defendant Bradford's unfair settlement practice, as described above, of failing within a

       reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

       reservation of rights to Plaintiffs, constitutes an unfair method of competition and an

       unfair and deceptive act or practice in the business of insurance.       TEX. INS. CODE

       §541.060(a)(4).

 40.   Defendant Bradford did not properly inspect the Property and failed to account for and/or

       undervalued many of Plaintiffs' exterior and interior damages, although reported by

       Plaintiffs to State Auto. Defendant Bradford's unfair settlement practice, as described

       above, of refusing to pay Plaintiffs' claim without conducting a reasonable investigation,

       constitutes an unfair method of competition and an unfair and deceptive act or practice in

       the business of insurance. TEX. INS. CODE §541.060(a)(7).

                         CAUSES OF ACTION AGAINST ALL DEFENDANTS


41.    Plaintiffs are not making any claims for relief under federal law.

                                             FRAUD


42.    Defendants State Auto and Bradford are liable to Plaintiffs for common law fraud.

43.    Each and every one of the representations, as described above, concerned material facts

       for the reason that absent such representations, Plaintiffs would not have acted as they




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      did, and which Defendants State Auto and Bradford knew were false or made recklessly

      without any knowledge of their truth as a positive assertion.

44.   The statements were made with the intention that they should be acted upon by Plaintiffs,

      who in turn acted in reliance upon the statements, thereby causing Plaintiffs to suffer

      injury and constituting common law fi·aud.

                              CONSPIRACY TO COMMIT FRAUD


45.   Defendants State Auto and Bradford are liable to Plaintiffs for conspiracy to commit

      fraud. Defendants State Auto and Bradford were members of a combination of two or

      more persons whose object was to accomplish an unlawful purpose or a lawful purpose

      by unlawful means. In reaching a meeting of the minds regarding the course of action to

      be taken against Plaintiffs, Defendants State Auto and Bradford committed an unlawful,

      overt act to further the object or course of action.       Plaintiffs suffered injury as a

      proximate result.

                      CAUSES OF ACTION AGAINST STATE AUTO ONLY


46.   Defendant State Auto is liable to Plaintiffs for intentional breach of contract, as well as

      intentional violations of the Texas Insurance Code, and intentional breach of the common

      law duty of good fuith and fair dealing.

                                   BREACH OF CONTRACT


47.   Defendant State Auto's conduct constitutes a breach of the msurance contract made

      between State Auto and Plaintiffs.

48.   Defendant State Auto's failure and/or refusal, as described above, to pay the adequate

      compensation as it is obligated to do under the terms of the Policy in question, and under




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      the laws of the State of Texas, constitutes a breach of State Auto's insurance contract

      with Plaintiffs.

                         NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                               UNFAIR SETTLEMENT PRACTICES

49.   Defendant State Auto's conduct constitutes multiple violations of the Texas Insurance

      Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under

      this article are made actionable by TEX. INS. CoDE §541.151.

50.   Defendant State Auto's unfair settlement practice, as described above, of misrepresenting

      to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method

      of competition and an unfair and deceptive act or practice in the business of insurance.

      TEX. INS. CODE §541.060(a)(l).

51.   Defendant State Auto's unfair settlement practice, as described above, of tailing to

      attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

      even though State Auto's liability under the Policy was reasonably clear, constitutes an

      unfair method of competition and an unfair and deceptive act or practice in the business

      of insurance. TEX. INS. CODE §541.060(a)(2)(A).

52.   Defendant State Auto's unfair settlement practice, as described above, of failing to

      promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in

      relation to the facts or applicable law, for its offer of a compromise settlement of the

      claim, constitutes an unfair method of competition and an unfair and deceptive act or

      practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

53.   Defendant State Auto's unfair settlement practice, as described above, of failing within a

      reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

      reservation of rights to Plaintiffs, constitutes an unfair method of competition and an
                                                                                           Page 13
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      unfair and deceptive act or practice m the business of insurance.          TEX. INS. CODE

      §541.060(a)( 4).

54.   Defendant State Auto's unfair settlement practice, as described above, of refusing to pay

      Plaintiffs' claim without conducting a reasonable investigation, constitutes an unfair

      method of competition and an unfair and deceptive act or practice in the business of

      insurance. TEX. INS. CODE §541.060(a)(7).

                      NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                             THE PROMPT PAYMENT OF CLAIMS


55.   Defendant State Auto's conduct constitutes multiple violations of the Texas Insurance

      Code, Prompt Payment of Claims.         All violations made under this article are made

      actionable by TEX. INS. CODE §542.060.

56.   Defendant State Auto's failure to acknowledge receipt of Plaintiffs' claim, commence

      investigation of the claim, and request from Plaintiffs all items, statements, and forms

      that it reasonably believed would be required within the applicable time constraints, as

      described above, constitutes a non-prompt payment of claims and a violation of TEX. INS.

      CODE §542.055.

57.   Defendant State Auto's failure to notify Plaintiffs in writing of its acceptance or rejection

      of the claim within the applicable time constraints, constitutes a non-prompt payment of

      the claim. TEX. INS. CODE §542.056.

58.   Defendant State Auto's delay of the payment of Plaintiffs' claim following its receipt of

      all items, statements, and forms reasonably requested and required, longer than the

      amount of time provided for, as described above, constitutes a non-prompt payment of

      the claim. TEX. [NS. CODE §542.058.



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                           ACTS CONSTITUTING ACTING AS AGENT

59.   As referenced and described above, and further conduct throughout this litigation and

      lawsuit, Bradford is an agent of State Auto based on his acts during the handling of this

      claim, including inspections, adjustments, and aiding in adjusting a loss for or on behalf

      of the insurer. TEX. INS. CODE §400 1.051.

60.   Separately, and/or in the alternative, as referenced and described above, State Auto

      ratified the actions and conduct of Bradford including the completion of his duties under

      the common law and statutory law.

                 BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING


61.   Defendant State Auto's conduct constitutes a breach of the common law duty of good

      faith and fair dealing owed to insureds in insurance contracts.

62.   Defendant State Auto's failure, as described above, to adequately and reasonably

      investigate and evaluate Plaintiffs' claim, although, at that time, State Auto knew or

      should have known by the exercise of reasonable diligence that its liability was

      reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

                                        KNOWLEDGE


63.   Each of the acts described above, together and singularly, was done "knowingly," as that

      term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs'

      damages described herein.

                                          DAMAGES


64.   Plaintiffs would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of the damages sustained by Plaintiffs.




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65.   As previously mentioned, the damages caused by the April 25, 2015, hail storm and/or

      windstorm have not been properly addressed or repaired in the months since the Storm,

      causing further damages to the Property, and causing undue hardship and burden to

      Plaintiffs. These damages are a direct result of Defendant State Auto's and Bradford's

      mishandling of Plaintiffs' claim in violation of the laws set forth above.

66.   For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which

      is the amount of their claim, together with attorney's fees.

67.   For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

      Plaintiffs are entitled to actual damages, which include the loss of the benefits that should

      have been paid pursuant to the policy, mental anguish, court costs, and attorney's fees.

      For knowing conduct of the acts described above, Plaintiffs ask for three times their

      actual damages. TEX. INS. CODE §541.152.

68.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

      entitled to the amount of their claim, as well as eighteen (18) percent interest per annum

      on the amount of such claim as damages, together with attorney's fees. TEX. INS. CoDE

      §542.060.

69.   For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled

      to compensatory damages, including all forms of loss resulting from the insurer's breach

      of duty, such as additional costs, economic hardship, losses due to nonpayment of the

      amount the insurer owed, exemplary damages, and damages for emotional distress.

70.   For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for

      knowingly fraudulent and malicious representations, along with attorney's fees, interest,

      and court costs.


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71.   For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

      the services of the attorney whose name is subscribed to this pleading.            Therefore,

      Plaintiffs are entitled to recover a sum for the reasonable and necessary services of

      Plaintiffs' attorney in the preparation and trial of this action, including any appeals to the

      Court of Appeals and/or the Supreme Court of Texas.

                                        JURY DEMAND

72.   Plaintiffs hereby request that all causes of action alleged herein be tried before a jury

      consisting of citizens residing in Bexar County, Texas.         Plaintiffs hereby tender the

      appropriate jury fee.

                                    WRITTEN DISCOVERY

                                   REQUESTS FOR DISCLOSURE

73.   Plaintiffs' Request for Disclosure to Defendant State Auto Property & Casualty

      Insurance Company is attached as "Exhibit A." Plaintiffs' Request for Disclosure to

      Defendant Dustin Charles Bradford is attached as "Exhibit A-I."

                                   REQUESTS FOR PRODUCTION

74.   Plaintiff·~'   First Request for Production to Defendant State Auto Property & Casualty

      Insurance Company is attached as "Exhibit B." Plaintiffs' First Request for Production

      to Defendant Dustin Charles Bradford is attached as "Exhibit B-1."

                                       INTERROGATORIES

75.   Plaintiff Francisco Rizo 's First Set of (Claim Specific) Interrogatories to Defendant State

      Auto Property & Casualty Insurance Company is attached as "Exhibit C."               Plaint({{

      Francisco Rizo 's First Set of (Claim Specific) Interrogatories to Defendant Dustin

      Charles Bradford is attached as "Exhibit C-1." Plaintiff Hermelinda Rizo 's First Set of


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        (Claim Specific) Interrogatories to Defendant State Auto Property & Casualty Insurance

        Company is attached as "Exhibit D."

                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate them in

accordance with the rules of law and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorney's fees for the trial and any appeal of this case, for all

costs of Court on their behalf expended, for prejudgment and postjudgment interest as allowed

by law, and for any other and further relief, either at law or in equity, to which they may show

themselves justly entitled.



                                              Respectfully submitted,

                                              MOSTYN LAW




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                                              ATTORNEYS FOR PLAINTIFFS
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                                         "EXHIBIT A"

                                 CAUSE NO. _ _ _ __

 FRANCISCO RIZO AND                             §               IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                               §
     Plaintiffs,                                §
                                                §
 v.                                             §                    BEXAR COUNTY, TEXAS
                                                §
 STATE AUTO PROPERTY &                          §
 CASUALTY INSURANCE                             §
 COMPANY AND DUSTIN CHARLES                     §
 BRADFORD,                                      §
      Defendants.                               §                 _ _ JUDICIAL DISTRICT

            PLAINTIFFS' REQUEST FOR DISCLOSURE TO DEFENDANT
          STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY

TO:    DEFENDANT STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY,
       by and through its Attorney for Service: Corporation Service Company, 211 East 7th
       Street, Suite 620, Austin, Texas 78701.

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiffs request that the
above-named Defendant, State Auto Property & Casualty Insurance Company (hereinafter
referred to as "Defendant"), disclose, within fifty-one (51) days after the date of service of this
request, the information or material described in Rule 194.2.

                                             Respectfully submitted,

                                             MOSTYN LAW



                                              Is/ Amber Anderson Mostvn
                                             Amber Anderson Mostyn
                                             State Bar No. 90001704
                                             Molly K. Bowen
                                             State Bar No. 24069898
                                             ala_teamefile@mostynlaw.com
                                             3810 W. Alabama St.
                                             Houston, Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEYS FOR PLAINTIFFS
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                                         "EXHIBIT B"
                                 CAUSE NO. _ _ _ _ __

 FRANCISCO RIZO AND                             §               IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                               §
     Plaintiffs,                                §
                                                §
 v.                                             §                    BEXAR COUNTY, TEXAS
                                                §
 STATE AUTO PROPERTY &                          §
 CASUALTY INSURANCE                             §
 COMPANY AND DUSTIN CHARLES                     §
 BRADFORD,                                      §
      Defendants.                               §                 _ _ JUDICIAL DISTRICT

        PLAINTIFFS' FIRST REQUEST FOR PRODUCTION TO DEFENDANT
         STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY

TO:    DEFENDANT STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY,
       by and through its Attorney for Service: Corporation Service Company, 211 East 7th
       Street, Suite 620, Austin, Texas 7870 I.

        Pursuant to Rule 196 of the Texas Rules of Civil Procedure, Plaintiffs request that the
above-named Defendant, State Auto Property & Casualty Insurance Company (hereinafter
referred to as "Defendant"), disclose, within fifty-one (51) days after the date of service of this
request, the information or material described in the following request for production.

                                             Respectfully submitted,

                                             MOSTYN LAW



                                              Is/ Amber Anderson Mostyn
                                             Amber Anderson Mostyn
                                             State Bar No. 9000 I 704
                                             Molly K. Bowen
                                             State Bar No. 24069898
                                             ala_teamefile@mostynlaw.com
                                             3810 W. Alabama St.
                                             Houston, Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEYS FOR PLAINTIFFS
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                                     DEFINITIONS

       The following definitions shall have the following meanings, unless the context of the
discovery request requires otherwise:

l. "Document" means any textual, visual and auditory information items in all forms in which
   they are stored and/or communicated.

2. "Person" means an individual, corporation, association, partnership, reciprocal or
   interinsurance exchange, Lloyd's plan, fi·atemal benefit society, agent, broker, adjuster,
   contractor/estimator, engineer, independent contractor, or employee.

3. "Handle", handled", "handling", and/or "worked on" - any person, as defined above, that
   made a decision, investigated, adjusted, consulted, supervised, managed, settled, approved,
   provided information or otherwise performed a task relating to the claims made the basis of
   this lawsuit, excluding persons performing purely ministerial or clerical tasks.

4. "Policy" refers to the policy of insurance in effect on the date that the loss made the basis of
   this lawsuit occurred.

5. "Property" refers to the residence, dwelling, other structures, and personal property covered
   by the Policy, as defined above, made the basis of this lawsuit.

6. "Bexar County Hailstorm" and/or "April 25, 2015 hail and windstorm" refer to the hail
   and/or windstorm that occurred during the month of April of 2015 in Bexar County and
   surrounding areas.

7. "Describe," when referring to a document, is defined to require that you state the following:

       a.      The nature (e.g., letter, handwritten note) of the document;
       b.      The title or heading that appears on the document;
       c.      The date of the document and the date of each addendum supplement, or other
               addition or change;
       d.      The identity of the author and of the signer of the document, and of the person on
               whose behalf or at whose request or direction the document was prepared or
               delivered;
       e.      The present location of the document, and the name, address, position, or title,
               and telephone number of the person or person having custody of the document.




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     PRODUCTION PROTOCOL RELATING TO ELECTRONICALLY STORED
      INFORMATION (ESI) ATTENDANT TO PLAINTIFFS' DISCOVERY TO
                             DEFENDANT

l.   "Infurmation items" as used here encompass individual documents and records (including
     associated metadata) whether on paper or film, as discrete "files" stored electronically,
     optically or magnetically or as a record within a database, archive or container file. The
     term should be read broadly to include e-mails, messaging, word processed documents,
     digital presentations and spreadsheets.

2.   Consistent with Tex. R. Civ. P. 196.4, responsive electronically stored information (ESI) has
     been requested by the Plaintiff(s) in its native form; that is, in the form in which the
     information was customarily created, used and stored by the native application employed by
     the producing party in the ordinary course of business. The producing party shall not
     produce in a format not requested and later assert that production as a basis of not producing
     in the requested format, except upon agreement by the parties prior to production or ordered
     by the Court. The parties are reminded of their obligation to confer and to make reasonable
     efforts to resolve disputes regarding production without court intervention. See In re
     Weekley Homes, L.P., 295 S.W. 3d 309 (Tex. 2009); Tex. R. Civ. P. l92.4(b).

3.   If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
     form, it may be produced in an agreed-upon near-native form; that is, in a form in which the
     item can be imported into the native application without a material loss of content, structure
     or functionality as compared to the native form. Static image production formats serve as
     near-native alternatives only for information items that are natively static images (i.e.,
     photographs and scans). Any and all agreements between the parties on a non-native form of
     production shall occur prior to initial production and the agreements shall be in writing. If no
     agreement can be made between the parties, consistent with Texas Rules of Civil Procedure
     196.4, Defendant will object and file with the Court evidence that production in native or
     near-native form is unduly burdensome or requires extraordinary steps. In the event the
     Court determines that production in native or near-native format is infeasible, production
     shall be made in accordance with Instruction No. 6 of this Protocol.

4.   The table below supplies examples of agreed-upon native or near-native forms in which
     speci fiIC types o fESIshoul
                               d be produced
      SotirceESI                  ·····.· . · ·. 'NatiV,e dr.NeaiNative F!lriri or Fonlls Sought
      Microsoft Word documents                     .DOC, .DOCX
      Microsoft Excel Spreadsheets                 .XLS, .XLSX
      Microsoft PowerPoint Presentations .PPT, .PPTX
      Microsoft Access Databases                   .MDB, .ACCDB
      WordPerfect documents                        .WPD
      Adobe Acrobat Documents                      .PDF
      Photographs                                  .JPG, .PDF




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     Xactimate Documents                   .ESX
     E-mail                                Messages should be produced in a furm or forms
                                           that readily support import into standard e-mail
                                           client programs; that is, the form of production
                                           should adhere to the conventions set out in RFC
                                           5322 (the internet e-mail standard). For Microsoft
                                           Exchange or Outlook messaging, .PST furmat will
                                           suffice. Single message production formats like
                                           .MSG or .EML may be furnished, if source
                                           fo ldering data is preserved and produced. For
                                           Lotus Notes mail, furnish .NSF files or convert to
                                           .PST. If your workflow requires that attachments
                                           be extracted and produced separately from
                                           transmitting messages, attachments should be
                                           produced in their native forms with parent/child
                                           re !at ions hips to the message and container(s)
                                           preserved and produced in a delimited text file.

5.   Absent a showing of need, a party shall only produce reports fi·om databases that can be
     generated in the ordinary course of business (i.e., without specialized programming skills),
     and these shall be produced in a delimited electronic format preserving field and record
     structures and names. The parties will meet and confer prior to initial production regarding
     programmatic database productions as necessary.

6.   Information items that are paper documents or that require redaction shall be produced in
     static image formats, e.g., single-page .TIF or multipage PDF images. If an information
     item contains color, the producing party shall not produce the item in a form that does not
     display color. The full content of each document will be extracted by optical character
     recognition (OCR) or other suitable method to a searchable text file produced with the
     corresponding page image(s) or embedded within the image file.

7.   Parties shall take reasonable steps to ensure that text extraction methods produce usable,
     accurate and complete searchable text.

8.   Individual infurmation items requiring redaction shall (as feasible) be redacted natively
     or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability to
     electronically search the unredacted portions of the item. To the extent a producing pmiy
     asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
     feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
     without Court intervention. If the dispute cannot be resolved between the parties, the
     manner of production can be brought before the Court consistent with Tex. R. Civ. P.
     196.4.

9.   Upon a showing of need, a producing party shall make a reasonable effort to locate and
     produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
     agree to meet and confer prior to initial production regarding production of any such


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       documents. This provision shall not serve to require a producing party to reveal redacted
       content.

l 0.   Except as set out in this Protocol, a party need not produce identical information items in
       more than one form and shall globally de-duplicate identical items across custodians
       using each document's unique MD5 hash value. The content, metadata and utility of an
       information item shall all be considered in determining whether information items are
       identical, and items reflecting different information shall not be deemed identical.

ll.    Production should be made using appropriate electronic media of the producing pmiy's
       choosing provided that the production media chosen not impose an undue burden or
       expense upon a recipient. All productions should be encrypted for transmission to the
       receiving party. The producing party shall, contemporaneously with production, supply
       decryption credentials and passwords to the receiving party for all items produced in an
       encrypted or password-protected form.

12.    Each information item produced shall be identified by naming the item to correspond to a
       Bates identifier according to the following protocol:


        1.     The first four (4) characters of the filename will reflect a unique alphanumeric
               designation identifying the party making production;

        11.    The next nine (9) characters will be a unique, consecutive numeric value assigned
               to the item by the producing party. This value shall be padded with leading zeroes
               as needed to preserve its length;

        111.   The final five (5) characters are reserved to a sequence beginning with an
               underscore (_) followed by a four digit number reflecting pagination of the item
               when printed to paper or converted to an image format for use in proceedings or
               when attached as exhibits to pleadings.

        IV.    By way of example, a Microsoft Word document produced by Republic Lloyds in
               its native format might be named: REPL000000l23.docx. Were the document
               printed out for use in deposition, page six of the printed item must be embossed
               with the unique identifier REPL000000123_0006.

13.    Information items designated "Confidential" may, at the Producing Party's option:

        a. Be separately produced on electronic production media prominently labeled
           "Confidential" to comply with a Protective Order, if applicable.

        b. When any item so designated is converted to a printed format for any reason or
           imaged format for use in any submission or proceeding, the printout or page image
           shall bear be labeled "Confidential" on each page in a clear and conspicuous
           manner, but not so as to obscure content.



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14.    Producing party shall furnish a delimited load file supplying the metadata field values
       listed below for each information item produced (to the extent the values exist and as
       applicable):

      EWd
      BeginBates
      End Bates
      BeginAttach
      End Attach
      Custodian/Source
      Source File Name
      Source File Path
      Fro ml Author
      To
      cc
      BCC
      Date Sent
      Tin1e Sent
      Subject/Title
      Last Modified Date
      Last Modified Time
      Document Type
      Redacted Flag (yes/no)
      Hidden Content/Embedded Objects Flag (yes/no)
      Confidential flag (yes/no)
      MDS Hash value
      Hash De-Duplicated Instances (by full path)

15.   Each production should include a cross-reference load file that correlates the vanous
      files, images, metadata field values and searchable text produced.

16.   Pmiies shall respond to each request for production by listing the Bates numbers/ranges
      of responsive documents produced, and where an information item responsive to these
      discovery requests has been withheld or redacted on a claim that it is privileged, the
      producing pmiy shall furnish a privilege log in accordance with Texas Rule of Civil
      Procedure 193.3.




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      PLAINTIFFS' FIRST REQUEST FOR PRODUCTION TO DEFENDANT

l.   The following insurance documents issued for the Property as identified in the Petition:
        a. the policy at issue for the date of loss as identified in the Petition; and
        b. the policy declarations page for the 3 years preceding the storm.

     RESPONSE:


2.   Produce underwriting files and documents relating to the underwriting for all insurance
     policies for the Property identified in the Petition. This request is limited to the past 5
     years. To the extent Defendant contends that the underwriting file or documents older
     than 5 years impact the damages or coverage, produce that underwriting file or document.

     RESPONSE:


3.   All documents relating to the condition or damages of the Property or any insurance
     claim on the Property identified in the Petition.

     RESPONSE:


4.   All documents relating to any real property insurance claims made by the Plaintiff(s).
     This request is limited to the past 5 years. To the extent Defendant contends that
     documents older than 5 years impact the damages or coverage, produce that document.

     RESPONSE:


5.   All requests for information to any third party about the Property, the Plaintiff(s), or the
     claims made the basis of this Lawsuit.

     RESPONSE:


6.   All documents used to instruct, advise, guide, inform, educate, or assist provided to any
     person handling the claim made the basis of this Lawsuit that related to the adjustment of
     this type of claim, i.e., hail property damage.

     RESPONSE:




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7.     All documents obtained fi·om any person(s) or entity(ies) and governmental agencies on
       behalf of Defendant or by Defendant relating to the Plaintiff(s), the Property, the Policy,
       or the claims made the basis of this Lawsuit. This request includes all documents
       obtained by way of deposition on written questions.

       RESPONSE:


8.     All documents received (prior to litigation) directly or indirectly fi·om Plaintiff(s) or
       created by Plaintiff(s) related to the Property made the basis of this lawsuit. This request
       is limited to the past 5 years. To the extent Defendant contends that any document older
       than 5 years impact the damages or coverage, produce that document.

       RESPONSE:



9.     Produce a copy of all price lists used to prepare any estimates for the claim made the
       basis of this Lawsuit. To the extent the price list is an unmodified price list from a third
       party, you can reference the vendor and version of the pricelist with a stipulation that it is
       unmodified.

       RESPONSE:


l 0.   To the extent Defendant created or altered any prices used in the preparation of an
       estimate in the claim made the basis of this Lawsuit, produce all documents related to the
       creation or alteration of the price, including the original price for that item and the factual
       bases for the creation or alteration.

       RESPONSE:


ll.    A complete copy the personnel file related to performance (excluding medical and
       retirement information) for all people and their managers and/or supervisors who directly
       handled the claim made the basis of this Lawsuit, including all documents relating to
       applications for employment, former and current resumes, last known address, job title,
       job descriptions, reviews, evaluations, and all drafts or versions of requested documents.
       This request is limited to the past 5 years.

       RESPONSE:




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12.   All organizational charts, diagrams, lists, and/or documents reflecting each department,
      division or section of Defendant's company to which the claim made the basis of this
      Lawsuit was assigned.

      RESPONSE:



13.   All Texas insurance licenses and/or certifications in effect that the time of the claims
      arising out of the Bexar County Hailstorms which occurred on or about April 25, 2015
      for all persons who worked on the claim made the basis of this Lawsuit, including any
      document relating to the application, issuance or review of those licenses and/or
      certifications. This request excludes those who performed merely ministerial acts, i.e.
      people who answer phones, file clerks whose only job duty is to stamp "received," etc.

      RESPONSE:



14.   If an engineer and/or engineering firm evaluated the Property, produce all reports written
      at the request of Defendant by that engineer or engineering firm within the last 3 years.
      This request is limited to the extent that the engineer and/or engineering firm was used
      during claims handling.

      RESPONSE:



15.   Produce all documents showing amounts billed and paid to any engineer and/or
      engineering firm identified in response to Request for Production No. 14 above within the
      last three years. A summary is acceptable in lieu of actual invoices or payments.

      RESPONSE:


16.   All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim
      made the basis of this Lawsuit, including any changes to the reserve(s) along with any
      supporting documentation.

      RESPONSE:




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17.   All documents relating to issues of honesty, criminal actions, past criminal record,
      criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
      disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
      made the basis of this Lawsuit, the Plaintiff(s) or any person assisting on the claim made
      the basis of this Lawsuit.

      RESPONSE:


18.   All documents relating to work performance, claims patterns, claims problems,
      commendations, claims trends, claims recognitions, and/or concerns for any person who
      handled the claim made the basis of this Lawsuit.

      RESPONSE:


19.   All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
      on this Policy and/or referencing any person who handled the claim made the basis of this
      Lawsuit relating to claims arising out of the Bexar County Hailstorms occurring on or
      about April25, 2015.

      RESPONSE:


20.   Any email or document that transmits, discusses, or analyzes any report produced m
      response to Request for Production No. 19 above.

      RESPONSE:


2!.   All Simsol Management reports that include this claim in any way, this Policy, the
      amount paid on this Policy and/or referencing any person who handled the claim made
      the basis of this Lawsuit relating to claims arising out of the Bexar County Hailstorms
      occurring on or about April25, 2015.

      RESPONSE:


22.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to Request for Production No. 21 above.

      RESPONSE:




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23.   For any consulting expert whose mental impressions or opinions have been reviewed by a
      testifying expert: all documents or tangible things that have been provided to, reviewed
      by, or prepared for the testifYing expert.

      RESPONSE:


24.   Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
      of a crime which you intend to use as evidence to impeach any party or witness.

      RESPONSE:


25.   All indemnity agreements in effect at the time of Plaintiffs' claim between Defendant and
      any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:


26.   All contracts in effect at the time of Plaintiffs' claim between Defendant and any
      person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:


27.   All confidentiality agreements and/or instructions regarding confidentiality in effect at
      the time of Plaintiffs' claim between Defendant and any person(s) and/or entity(ies) who
      the claim made the basis of the Lawsuit.

      RESPONSE:


28.   All documents between Defendant and any person(s) and/or entity(ies) who handled the
      claim made the basis of the Lawsuit regarding document retention policy in effect at the
      time of Plaintiffs' claim.

      RESPONSE:


29.   To the extent the claim involves rescinding of the policy, all documents regarding
      Defendant's standards for investigating and rescinding and/or voiding a policy.

      RESPONSE:




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                                        "EXHIBIT C"
                                CAUSE NO. _ _ _ _ __

 FRANCISCO RIZO AND                            §              IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                              §
     Plaintiffs,                               §
                                               §
 v.                                            §                   BEXAR COUNTY, TEXAS
                                               §
 STATE AUTO PROPERTY &                         §
 CASUALTY INSURANCE                            §
 COMPANY AND DUSTIN CHARLES                    §
 BRADFORD,                                     §
     Defendants.                               §                _ _ JUDICIAL DISTRICT

       PLAINTIFF FRANCISCO RIW'S FIRST SET OF (CLAIM SPECIFIC)
  INTERROGATORIES TO DEFENDANT STATE AUTO PROPERTY & CASUALTY
                        INSURANCE COMPANY

TO:    DEFENDANT STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY,
       by and through its Attorney for Service: Corporation Service Company, 211 East 7th
       Street, Suite 620, Austin, Texas 7870 I.

        Pursuant to Rule 197 of the Texas Rules of Civil Procedure, Plaintiff Francisco Rizo
requests that the above-named Defendant, State Auto Property & Casualty Insurance Company
(hereinafter referred to as "Defendant"), disclose, within fifty-one (51) days after the date of
service of this request, the information or material described in the following set of
interrogatories.

                                            Respectfully submitted,

                                            MOSTYN LAW



                                             Is/ Amber Anderson Mostvn
                                            Amber Anderson Mostyn
                                            State Bar No. 9000 I 704
                                            Molly K. Bowen
                                            State Bar No. 24069898
                                            ala_teamefile@mostynlaw.com
                                            3810 W. Alabama St.
                                            Houston, Texas 77027
                                            (713) 714-0000 (Office)
                                            (713) 714-1111 (Facsimile)

                                            ATTORNEYS FOR PLAINTIFFS
            Case 1:17-cv-00347-SS Document 1-4 Filed 04/14/17 Page 32 of 69




                                         DEFINITIONS

       The following definitions shall have the following meanings, unless the context of the
discovery request requires otherwise:

I. "Document" means any textual, visual and auditory information items in all forms in which
   they are stored and/or communicated.

2. "Person" means an individual, corporation, association, partnership, reciprocal or
   interinsurance exchange, Lloyd's plan, fraternal benefit society, agent, broker, adjuster,
   contractor/estimator, engineer, independent contractor, or employee.

3. "Handle", handled", "handling", and/or "worked on" - any person, as defined above, that
   made a decision, investigated, adjusted, consulted, supervised, managed, settled, approved,
   provided information or otherwise performed a task relating to the claims made the basis of
   this lawsuit, excluding persons performing purely ministerial or clerical tasks.

4. "Policy" refers to the policy of insurance in effect on the date that the loss made the basis of
   this lawsuit occurred.

5. "Property" refers to the residence, dwelling, other structures, and personal property covered
   by the Policy, as defined above, made the basis of this lawsuit.

6. "Bexar County Hailstorm" and/or "April 25, 2015 hail and windstorm" refer to the hail
   and/or windstorm that occurred during the month of April of 2015 in Bexar County and
   surrounding areas.

7. ''Describe," when referring to a document, is defined to require that you state the following:

       a.       The nature (e.g., letter, handwritten note) of the document;
       b.       The title or heading that appears on the document;
       c.       The date of the document and the date of each addendum supplement, or other
                addition or change;
       d.       The identity of the author and of the signer of the document, and of the person on
                whose behalf or at whose request or direction the document was prepared or
                delivered;
       e.       The present location of the document, and the name, address, position, or title,
                and telephone number of the person or person having custody of the document.




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     PRODUCTION PROTOCOL RELATING TO ELECTRONICALLY STORED
      INFORMATION (ESI) ATTENDANT TO PLAINTIFFS' DISCOVERY TO
                             DEFENDANT

I.   "Information items" as used here encompass individual documents and records (including
     associated metadata) whether on paper or film, as discrete "files" stored electronically,
     optically or magnetically or as a record within a database, archive or container file. The
     term should be read broadly to include e-mails, messaging, word processed documents,
     digital presentations and spreadsheets.

2.   Consistent with Tex. R. Civ. P. 196.4, responsive electronically stored information (ESI) has
     been requested by the Plaintiff(s) in its native form; that is, in the form in which the
     information was customarily created, used and stored by the native application employed by
     the producing party in the ordinary course of business. The producing party shall not
     produce in a format not requested and later assert that production as a basis of not producing
     in the requested format, except upon agreement by the parties prior to production or ordered
     by the Court. The parties are reminded of their obligation to confer and to make reasonable
     efforts to resolve disputes regarding production without cowt intervention. See In re
     Weekley Homes. L.P., 295 S.W. 3d 309 (Tex. 2009); Tex. R. Civ. P. 192.4(b).

3.   If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
     form, it may be produced in an agreed-upon near-native form; that is, in a form in which the
     item can be imported into the native application without a material loss of content, structure
     or functionality as compared to the native form. Static image production formats serve as
     near-native alternatives only for information items that are natively static images (i.e.,
     photographs and scans). Any and all agreements between the parties on a non-native form of
     production shall occur prior to initial production and the agreements shall be in writing. If no
     agreement can be made between the parties, consistent with Texas Rules of Civil Procedure
     196.4, Defendant will object and file with the Comt evidence that production in native or
     near-native form is unduly burdensome or requires extraordinary steps. In the event the
     Cowt determines that production in native or near-native format is infeasible, production
     shall be made in accordance with Instruction No. 6 of this Protocol.

4.   The table below supplies examples of agreed-upon native or near-native forms in which
     spec1.fiIC trypes o fESI S10U
                               I ld bepro duced :
      Source ESI                ·. > ...      Native orNear Native Form or Forms Sought
      Microsoft Word documents                .DOC, .DOCX
      Microsoft Excel Spreadsheets            .XLS, .XLSX
      Microsoft PowerPoint Presentations .PPT, .PPTX
      Microsoft Access Databases              .MDB, .ACCDB
      WordPerfect documents                   .WPD
      Adobe Acrobat Documents                 .PDF
      Photo graphs                            .JPG, .PDF




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     Xactimate Documents                   .ESX
     E-mail                                Messages should be produced in a form or forms
                                           that readily support import into standard e-mail
                                           client programs; that is, the furm of production
                                           should adhere to the conventions set out in RFC
                                           5322 (the internet e-mail standard). For Microsoft
                                           Exchange or Outlook messaging, .PST format will
                                           suffice. Single message production formats like
                                           .MSG or .EML may be furnished, if source
                                           fu ldering data is preserved and produced. For
                                           Lotus Notes maiL furnish .NSF files or convert to
                                           .PST. If your workflow requires that attachments
                                           be extracted and produced separately from
                                           transmitting messages, attachments should be
                                           produced in their native forms with parent/child
                                           relationships to the message and container( s)
                                           preserved and produced in a delimited text file.

5.   Absent a showing of need, a party shall only produce reports from databases that can be
     generated in the ordinary course of business (i.e., without specialized programming skills),
     and these shall be produced in a delimited electronic format preserving field and record
     structures and names. The prnties will meet and confer prior to initial production regarding
     programmatic database productions as necessary.

6.   Information items that are paper documents or that require redaction shall be produced in
     static image formats, e.g., single-page .TIF or multipage PDF images. If an information
     item contains color, the producing party shall not produce the item in a form that does not
     display color. The full content of each document will be extracted by optical character
     recognition (OCR) or other suitable method to a searchable text file produced with the
     corresponding page image(s) or embedded within the image file.

7.   Parties shall take reasonable steps to ensure that text extraction methods produce usable,
     accurate and complete searchable text.

8.   Individual information items requiring redaction shall (as :feasible) be redacted natively
     or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability to
     electronically search the unredacted portions of the item. To the extent a producing party
     asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
     feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
     without Court intervention. If the dispute cannot be resolved between the parties, the
     manner of production can be brought before the Court consistent with Tex. R. Civ. P.
     196.4.

9.   Upon a showing of need, a producing party shall make a reasonable effort to locate and
     produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
     agree to meet and confer prior to initial production regarding production of any such


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       documents. This provision shall not serve to require a producing party to reveal redacted
       content.

I 0.   Except as set out in this Protocol, a party need not produce identical information items in
       more than one form and shall globally de-duplicate identical items across custodians
       using each document's unique MD5 hash value. The content, metadata and utility of an
       information item shall all be considered in determining whether information items are
       identical, and items reflecting different information shall not be deemed identical.

II.    Production should be made using appropriate electronic media of the producing party's
       choosing provided that the production media chosen not impose an undue burden or
       expense upon a recipient. All productions should be encrypted for transmission to the
       receiving party. The producing party shall, contemporaneously with production, supply
       decryption credentials and passwords to the receiving party for all items produced in an
       encrypted or password-protected form.

12.    Each information item produced shall be identified by naming the item to correspond to a
       Bates identifier according to the following protocol:


        1.     The first four (4) characters of the filename will reflect a unique alphanumeric
               designation identifying the party making production;

        11.   The next nine (9) characters will be a unique, consecutive numeric value assigned
              to the item by the producing party. This value shall be padded with leading zeroes
              as needed to preserve its length;

        iii. The final five (5) characters are reserved to a sequence beginning with an
             underscore (_) followed by a four digit number reflecting pagination of the item
             when printed to paper or converted to an image format for use in proceedings or
             when attached as exhibits to pleadings.

        IV.   By way of example, a Microsoft Word document produced by Republic Lloyds in
              its native format might be named: REPLOOOOOOI23.docx. Were the document
              printed out for use in deposition, page six of the printed item must be embossed
              with the unique identifier REPLOOOOOO 123 _ 0006.

13.    Information items designated "Confidential" may, at the Producing Party's option:

        a. Be separately produced on electronic production media prominently labeled
           "Confidential" to comply with a Protective Order, if applicable.

        b. When any item so designated is converted to a printed format for any reason or
           imaged format for use in any submission or proceeding, the printout or page image
           shall bear be labeled "Confidential" on each page in a clear and conspicuous
           manner, but not so as to obscure content.



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14.   Producing party shall furnish a delimited load file supplying the metadata field values
      listed below for each information item produced (to the extent the values exist and as
      applicable):

      fu.W.
      BeginBates
      End Bates
      BeginAttach
      EndAttach
      Custodian/Source
      Source File Name
      Source File Path
      From/ Author
      To
      cc
      BCC
      Date Sent
      Time Sent
      Subject/Title
      Last Modified Date
      Last Modified Time
      Document Type
      Redacted Flag (yes/no)
      Hidden Content/Embedded Objects Flag (yes/no)
      Confidential flag (yes/no)
      MDS Hash value
      Hash De-Duplicated Instances (by full path)

15.   Each production should include a cross-reference load file that correlates the various
      files, images, metadata field values and searchable text produced.

16.   Parties shall respond to each request for production by listing the Bates numbers/ranges
      of responsive documents produced, and where an information item responsive to these
      discovery requests has been withheld or redacted on a claim that it is privileged, the
      producing party shall furnish a privilege log in accordance with Texas Rule of Civil
      Procedure 193.3.




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       PLAINTIFF FRANCISCO RIZO'S FIRST SET OF (CLAIM SPECIFIC)
                   INTERROGATORIES TO DEFENDANT

I.   IdentifY all persons, address, including job title, dates of employment, and a description
     of each individual's role in the claim made the basis of this Lawsuit, if any, for all
     persons providing information for the answers these interrogatories.

     ANSWER:


2.   IdentifY all persons and/or entities who handled the claim made the basis of the Lawsuit
     on behalf of Defendant.

     ANSWER:


3.   State the following concerning notice of claim and timing of payment:

        a. The date and manner in which Defendant received notice of the claim;
        b. The date and manner in which Defendant acknowledged receipt of the claim;
        c. The date and manner in which Defendant commenced investigation of the claim;
        d. The date and manner in which Defendant requested from the Plaintiffs all items,
           statements, and forms reasonably necessary that Defendant reasonably believed,
           at the time, would be required from the Plaintiffs; and
        e. The date and manner in which Defendant notified the claimant(s) in writing of the
           acceptance or rejection of the claim.
        f To the extent Defendant felt it was applicable to this claim, did Defendant request
           an additional 45 days to accept or reject the claim, and if so, for what reason and
           state the date and manner in which Defendant made that request.
        g. The date and manner in which you notified Plaintiffs of acceptance or rejection of
           coverage for all or any portion of Plaintiffs' claim; and
        h. The date and manner of all payments made to insured, identifying whether
           payment was made under structure, additional structure, contents and/or ALE
           provisions.

     ANSWER:


4.   IdentifY each inspection of the Property made the basis of this Lawsuit by:
         a. The name and job title of each person who inspected the Property;
         b. The date of each inspection;
         c. The purpose of each inspection; and
         d. Any documents generated during or as a result of each inspection, including the
             persons and/or entities in possession of those documents.

     ANSWER:



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5.   lfDefendant is aware of documents that are not in Defendant's possession that are related
     the Claim and were gathered by a person or entity working on behalf of Defendant
     (directly or indirectly), identifY the documents, including the persons and/or entities in
     possession of those documents with last known addresses.

     ANSWER:


6.   State all dates on which Defendant closed Plaintiffs' claim and to the extent Defendant
     asserts statute of limitations as a defense, state all dates and manners in which Defendant
     notified Plaintiff(s).

     ANSWER:


7.   Does Defendant contend that Plaintiff(s) failed to provide proper notice of the claim
     made the basis of this Lawsuit under either the policy or the Texas Insurance Code, and,
     if so, describe how the notice was deficient, identifying any resulting prejudice caused to
     Defendant.

     ANSWER:



8.   At the time the claim made the basis of this Lawsuit was investigated by Defendant (and
     prior to the anticipation of litigation), describe Defendant's understanding of areas of the
     property (i.e., roof, interior) Defendant was investigating, identifying the coverage
     sections (i.e., dwelling, other structure, ALE, contents, and/or code upgrade) ofthe Policy
     upon which the claim was paid or denied.

     ANSWER:



9.   Does Defendant contend that at the time the claim made the basis of this Lawsuit was
     investigated by Defendant (and prior to anticipation of litigation), Plaintiffs failed to
     protect the property from further damage or loss, make reasonable and necessary repairs
     or temporary repairs required to protect the Property as provided under the Policy?

     ANSWER:




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10.   At the time the claim made the basis of this Lawsuit was investigated by Defendant (and
      prior to anticipation of litigation), state whether the Plaintiff(s) failed to exhibit/provide
      access to the Property as reasonably requested by Defendant, and, if so, describe how
      Plaintiffs failed to do so, identifying any resulting prejudice caused to Defendant.

      ANSWER:


II.   At the time the claim made the basis of this Lawsuit was investigated (and prior to
      anticipation of litigation), identify all documents and information requested from
      Plaintiff(s) stating the date and manner in which the request was made to Plaintiffs. If
      Defendant contends that Plaintiff(s) failed to provide Defendant with requested
      documents and/or information, identifY all requests Plaintiffs did not respond and if
      Defendant denied any portion of the claim based on Plaintiffs' failure to respond.

      ANSWER:



12.   At the time the claim made the basis of this Lawsuit was investigated (and prior to the
      anticipation of litigation), did Defendant request or take any statements and/or
      examinations under oath ofPlaintiff(s) as provided under the policy. If so, state the date
      and manner in which Defendant made the request, the date on which any statements or
      examinations under oath were taken and the manner in which they were recorded or
      documented, identifYing all persons who requested and/or took the statement or
      examination under oath. If Defendant contends that Plaintiff(s) failed to provide
      Defendant with a requested statement or examination, describe how Plaintiff failed to
      comply with any requests, to the extent it was relied upon to deny any pmtion of
      Plaintiffs' claim.

      ANSWER:



13.   At the time the claim made the basis of this Lawsuit was investigated and the Prope1ty
      inspected (and prior to anticipation of litigation), describe all damage attributable to the
      storm observed at the Property by Defendant or any persons or entities on behalf of
      Defendant.

      ANSWER:




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14.   If you contend Plaintiffs' damages claimed in this lawsuit are the result of a prior
      insurance claim or prior unrepaired damage, please list all such prior claims on the
      property made in the last ten years, including claim number, date of loss, type of loss, and
      payments, if any, and identify which prior claim or claims you contend pertain to such
      damage.

      ANSWER:



15.   IdentifY all exclusions under the Policy applied to the claim made the basis of this
      Lawsuit, and for each exclusion identified, state the reason(s) that Defendant relied upon
      to apply that exclusion.

      ANSWER:


16.   Describe how Defendant determined whether overhead and profit ("O&P") should be
      applied to the claim made the basis of this Lawsuit, identifYing the criteria for that
      determination.

      ANSWER:


17.   State whether sales tax was paid by Defendant on all materials and/or labor and the
      method of calculation. To the extent this information is reflected on an estimate,
      Defendant can refer Plaintiff(s) to such estimate.

      ANSWER:


18.   IdentifY all items on the claim made the basis of this Lawsuit to which Defendant applied
      depreciation, stating for each item the criteria used and the age of the item.

      ANSWER:


19.   To the extent Defendant utilized an estimating software and modified the manufacturer's
      settings, with respect to Plaintiffs' claim, identifY those modifications.

      ANSWER:




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20.   State whether Defendant applied depreciation to the tear off of the damaged roof and/or
      other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
      that depreciation and the applicable policy section under which the tear off was paid
      under.

      ANSWER:


21.   IdentifY all price lists used to prepare all estimates on the claim made the basis of this
      Lawsuit, stating the manufacturer, version, date and geographical area. For any price list
      developed by a third party vendor, identifY any additions, deletions, alterations or
      modifications made by Defendant, describing the change and purpose of the change for
      preparing an estimate on the claim made the basis this Lawsuit.

      ANSWER:


22.   State whether of any persons and/or entities who handled the claim made the basis this
      Lawsuit failed to follow any rules, guidelines, policies, or procedures implemented by
      Defendant for the Bexar County Hailstorms occurring on or about April 25, 2015 in
      regards to the adjustment of this claim. If so, identifY each person and the specific rule,
      guideline, policy, or procedure that was violated.

      ANSWER:


23.   To the extent Defendant is aware, state whether the estimate(s) prepared for the claim
      made the basis this Lawsuit failed to identify, note, or document any storm related
      damage at the Property. If so, identify each item of damage that was not properly
      identified, noted, or documented.

      ANSWER:


24.   To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
      the basis of lawsuit wrongly included or excluded any item or payment. If so, identify
      each item or payment and state whether it should have been included or excluded from
      the estimates prepared on the claim made the basis this Lawsuit.

      ANSWER:


25.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      541 that were discovered on this claim during the claims handling process.

      ANSWER:



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                                        "EXHIBIT D"

                                CAUSE NO. _ _ _ _ __

 FRANCISCO RIZO AND                            §              IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                              §
     Plaintiffs,                               §
                                               §
 v.                                            §                    BEXAR COUNTY, TEXAS
                                               §
 STATE AUTO PROPERTY &                         §
 CASUALTY INSURANCE                            §
 COMPANY AND DUSTIN CHARLES                    §
 BRADFORD,                                     §
     Defendants.                               §                _ _ JUDICIAL DISTRICT

      PLAINTIFF HERMELINDA RIZO'S FIRST SET OF (CLAIM SPECIFIC)
  INTERROGATORIES TO DEFENDANT STATE AUTO PROPERTY & CASUALTY
                       INSURANCE COMPANY

TO:    DEFENDANT STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY.
       by and through its Attorney for Service: Corporation Service Company. 211 East 7th
       Street. Suite 620. Austin. Texas 7870 I.

        Pursuant to Rule 197 of the Texas Rules of Civil Procedure. Plaintiff Hermelinda Rizo
requests that the above-named Defendant. State Auto Property & Casualty Insurance Company
(hereinafter referred to as "Defendant""). disclose. within fifty-one (51) days after the date of
service of this request. the information or material described in the following set of
interrogatories.

                                            Respectfully submitted.

                                            MOSTYN LAW



                                             Is/ Amber Anderson Mostyn
                                            Amber Anderson Mostyn
                                            State Bar No. 90001704
                                            Molly K. Bowen
                                            State Bar No. 24069898
                                            ala_teamefile@mostynlaw.com
                                            3810 W. Alabama St.
                                            Houston. Texas 77027
                                            (713) 714-0000 (Office)
                                            (713) 714-1111 (Facsimile)

                                            ATTORNEYS FOR PLAINTIFFS
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                                     DEFINITIONS

       The following definitions shall have the following meanings, unless the context of the
discovery request requires otherwise:

I. "Document" means any textual, visual and auditory information items in all fonns in which
   they are stored and/or communicated.

2. "Person" means an individual, corporation, association, partnership, reciprocal or
   interinsurance exchange, Lloyd's plan, fraternal benefit society, agent, broker, adjuster,
   contractor/estimator, engineer, independent contractor, or employee.

3. "Handle", handled", "handling", and/or "worked on" - any person, as defined above, that
   made a decision, investigated, adjusted, consulted, supervised, managed, settled, approved,
   provided information or otherwise performed a task relating to the claims made the basis of
   this lawsuit, excluding persons performing purely ministerial or clerical tasks.

4. "Policy" refers to the policy of insurance in effect on the date that the loss made the basis of
   this lawsuit occurred.

5. "Property" refers to the residence, dwelling, other structures, and personal property covered
   by the Policy, as defined above, made the basis of this lawsuit.

6. "Bexar County Hailstorm" and/or "April 25, 2015 hail and windstorm" refer to the hail
   and/or windstorn1 that occurred during the month of April of 2015 in Bexar County and
   surrounding areas.

7. "Describe," when referring to a document, is defined to require that you state the following:

       a.      The nature (e.g., letter, handwritten note) of the document;
       b.      The title or heading that appears on the document;
       c.      The date of the document and the date of each addendum supplement, or other
               addition or change;
       d.      The identity of the author and of the signer of the document, and of the person on
               whose behalf or at whose request or direction the document was prepared or
               delivered;
       e.      The present location of the document, and the name, address, position, or title,
               and telephone number of the person or person having custody of the document.




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     PRODUCTION PROTOCOL RELATING TO ELECTRONICALLY STORED
      INFORMATION (ESI) ATTENDANT TO PLAINTIFFS' DISCOVERY TO
                             DEFENDANT

I.   "Information items" as used here encompass individual documents and records (including
     associated metadata) whether on paper or film, as discrete "files" stored electronically,
     optically or magnetically or as a record within a database, archive or container file. The
     tenn should be read broadly to include e-mails, messaging, word processed documents,
     digital presentations and spreadsheets.

2.   Consistent with Tex. R. Civ. P. 196.4, responsive electronically stored information (ESI) has
     been requested by the Plaintiff{s) in its native form; that is, in the form in which the
     infonnation was customarily created, used and stored by the native application employed by
     the producing party in the ordinary course of business. The producing party shall not
     produce in a format not requested and later assert that production as a basis of not producing
     in the requested format, except upon agreement by the parties prior to production or ordered
     by the Court. The parties are reminded of their obligation to confer and to make reasonable
     efforts to resolve disputes regarding production without court intervention. See In re
     Weekley Homes, L.P., 295 S.W. 3d 309 (Tex. 2009); Tex. R. Civ. P. 192.4(b).

3.   If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
     form, it may be produced in an agreed-upon near-native form; that is, in a form in which the
     item can be imported into the native application without a material loss of content, structure
     or functionality as compared to the native form. Static image production formats serve as
     near-native alternatives only for information items that are natively static images (i.e.,
     photographs and scans). Any and all agreements between the parties on a non-native form of
     production shall occur prior to initial production and the agreements shall be in writing. If no
     agreement can be made between the parties, consistent with Texas Rules of Civil Procedure
     196.4, Defendant will object and file with the Court evidence that production in native or
     near-native form is unduly burdensome or requires extraordinary steps. In the event the
     Court determines that production in native or near-native format is infeasible, production
     shall be made in accordance with Instruction No. 6 of this Protocol.

4.   The table below supplies examples of agreed-upon native or near-native forms in which
     spec!.fi1c lYPes
                t     ofESI shou ld be pro duced :
                                    ..· .· ·....•
      Source ESI.          ···.· ..               Native or Near Native Form or FomJS Sought
      Microsoft Word documents                    .DOC, .DOCX
      Microsoft Excel Spreadsheets                .XLS, .XLSX
      Microsoft PowerPoint Presentations .PPT, .PPTX
      Microsoft Access Databases                  .MDB, .ACCDB
      WordPerfect documents                       .WPD
      Adobe Acrobat Documents                     .PDF
      Photographs                                 .JPG, .PDF




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     Xactirnate Documents                  .ESX
     E-mail                                Messages should be produced in a form or forms
                                           that readily support import into standard e-mail
                  '                        client programs; that is, the form of production
                                           should adhere to the conventions set out in RFC
                                           5322 (the internet e-mail standard). For Microsoft
                                           Exchange or Outlook messaging, .PST format will
                                           suffice. Single message production formats like
                                           .MSG or .EML may be furnished, if source
                                           fo ldering data is preserved and produced. For
                                           Lotus Notes mail, furnish .NSF files or convert to
                                           .PST. If your workflow requires that attachments
                                           be extracted and produced separately from
                                           transmitting messages, attachments should be
                                           produced in their native forms with parent/child
                                           relationships to the message and container( s)
                                           preserved and produced in a delimited text file.

5.   Absent a showing of need, a party shall only produce reports fi·om databases that can be
     generated in the ordinary course of business (i.e., without specialized programming skills),
     and these shall be produced in a delimited electronic fonnat preserving field and record
     structures and names. The parties will meet and confer prior to initial production regarding
     programmatic database productions as necessary.

6.   Information items that are paper documents or that require redaction shall be produced in
     static image formats, e.g., single-page .TIF or multipage PDF images. If an information
     item contains color, the producing party shall not produce the item in a form that does not
     display color. The full content of each document will be extracted by optical character
     recognition (OCR) or other suitable method to a searchable text file produced with the
     corresponding page image(s) or embedded within the image file.

7.   Parties shall take reasonable steps to ensure that text extraction methods produce usable,
     accurate and complete searchable text.

8.   Individual information items requiring redaction shall (as feasible) be redacted natively
     or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability to
     electronically search the unredacted portions of the item. To the extent a producing party
     asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
     feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
     without Court intervention. If the dispute cannot be resolved between the parties, the
     manner of production can be brought before the Court consistent with Tex. R. Civ. P.
     196.4.

9.   Upon a showing of need, a producing party shall make a reasonable effort to locate and
     produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
     agree to meet and confer prior to initial production regarding production of any such


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       documents. This provision shall not serve to require a producing party to reveal redacted
       content.

I 0.   Except as set out in this Protocol, a party need not produce identical infonnation items in
       more than one form and shall globally de-duplicate identical items across custodians
       using each document's unique MD5 hash value. The content, metadata and utility of an
       information item shall all be considered in determining whether information items are
       identical, and items reflecting different information shall not be deemed identical.

II.    Production should be made using appropriate electronic media of the producing party's
       choosing provided that the production media chosen not impose an undue burden or
       expense upon a recipient. All productions should be encrypted for transmission to the
       receiving party. The producing party shall, contemporaneously with production, supply
       decryption credentials and passwords to the receiving party for all items produced in an
       encrypted or password-protected form.

12.    Each information item produced shall be identified by naming the item to correspond to a
       Bates identifier according to the following protocol:


        1.    The first four (4) characters of the filename will reflect a unique alphanumeric
              designation identifying the party making production;

        11.    The next nine (9) characters will be a unique, consecutive numeric value assigned
               to the item by the producing party. This value shall be padded with leading zeroes
               as needed to preserve its length;

        iii. The final five (5) characters are reserved to a sequence beginning with an
             underscore (_) followed by a four digit number reflecting pagination of the item
             when printed to paper or converted to an image fonnat for use in proceedings or
             when attached as exhibits to pleadings.

        iv. By way of example, a Microsoft Word document produced by Republic Lloyds in
            its native format might be named: REPL000000123.docx. Were the document
            printed out for use in deposition, page six of the printed item must be embossed
            with the unique identifier REPLOOOOOO 123 0006.

13.    Information items designated "Confidential" may, at the Producing Party's option:

        a. Be separately produced on electronic production media prominently labeled
           "Confidential" to comply with a Protective Order, if applicable.

        b. When any item so designated is converted to a printed format for any reason or
           imaged format for use in any submission or proceeding, the printout or page image
           shall bear be labeled "Confidential" on each page in a clear and conspicuous
           manner, but not so as to obscure content.



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14.   Producing party shall furnish a delimited load file supplying the metadata field values
      listed below for each information item produced (to the extent the values exist and as
      applicable):

      .EWd
      BeginBates
      EndBates
      BeginAttach
      EndAttach
      Custodian/Source
      Source File Name
      Source File Path
      From/ Author
      To
      cc
      BCC
      Date Sent
      Time Sent
      Subjectffitle
      Last Modified Date
      Last Modified Time
      Document Type
      Redacted Flag (yes/no)
      Hidden Content/Embedded Objects Flag (yes/no)
      Confidential flag (yes/no)
      MD 5 Hash value
      Hash De-Duplicated Instances (by full path)

15.   Each production should include a cross-reference load file that correlates the various
      files, images, metadata field values and searchable text produced.

16.   Parties shall respond to each request for production by listing the Bates numbers/ranges
      of responsive documents produced, and where an information item responsive to these
      discovery requests has been withheld or redacted on a claim that it is privileged, the
      producing party shall furnish a privilege log in accordance with Texas Rule of Civil
      Procedure 193.3.




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     PLAINTIFF HERMELINDA RIZO'S FIRST SET OF (CLAIM SPECIFIC)
                 INTERROGATORIES TO DEFENDANT

I.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
     542 that were discovered on this claim during the claims handling process.

     ANSWER:



2.   To the extent Defendant is aware, state any violations of the requirements or obligations
     owed to Plaintiff(s) under the Policy relating the claim made the basis of this Lawsuit that
     were discovered during the claims handling process.

     ANSWER:



3.   State the date Defendant first anticipated litigation.

     ANSWER:



4.   IdentifY all evidence that may be used to impeach, by proof of final conviction of any
     felony or crime of moral turpitude, of any witness, including any party witness, by stating
     the following identifYing information, pursuant to Tex. R. Evid. 609:
         a. the name of the accused;
         b. the charged offense;
         c. whether the crime was a felony or involved moral turpitude;
         d. the date of final conviction; and
         e. the style, case number, and county of the proceeding.

     ANSWER:



5.   IdentifY any and all witnesses who may be called to testifY at trial pursuant to Rule
     192.3(d) of the Texas Rules of Civil Procedure.

     ANSWER:




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6.   Pursuant to Rule 192.3(e) of the Texas Rules of Civil Procedure, for each consulting
     expert, or expert who is not expected to be called as a witness but whose work product I)
     forms the basis either in whole or in part of the opinions of an expert who is to be called
     as a witness and/or 2) has been reviewed or relied upon by a testifying expert witness,
     please state:

        a. The name, address, and telephone of such expert;
        b. The number of times that expert has been retained by a defendant in any case;
        c. The number of times that expert has been retained by a plaintiff in any case;
        e. The number of times that expert has been retained by the attorney representing
           any Defendants in this suit;
        f. The number of times that expert has been retained by the law firm representing
           any Defendants in this suit; and
        g. The amount of compensation received or to be received in this case.

     ANSWER:



7.   If you contend that the Policy is void for any reason, state the specific factual bases for
     that contention, identifying any and all investigations, the factors considered and the
     conclusion reached and the evidence that is the basis for that conclusion.

     ANSWER:



8.   If you contend that the Plaintiff(s) made any misrepresentation regarding the Policy or
     the claim made the basis of this Lawsuit, state what specific misrepresentation(s)
     was/were made and the factual bases for your contention.

     ANSWER:




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                                        "EXHIBIT A-1"

                                 CAUSE NO. _ _ _ _ __

 FRANCISCO RIZO AND                             §              IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                               §
     Plaintiffs,                                §
                                                §
 v.                                             §                   BEXAR COUNTY, TEXAS
                                                §
 STATE AUTO PROPERTY &                          §
 CASUALTY INSURANCE                             §
 COMPANY AND DUSTIN CHARLES                     §
 BRADFORD,                                      §
     Defendants.                                §                _ _ JUDICIAL DISTRICT

             PLAINTIFFS' REQUEST FOR DISCLOSURE TO DEFENDANT
                          DUSTIN CHARLES BRADFORD

TO:    DEFENDANT DUSTIN CHARLES BRADFORD. at his place of residence at 5191
       Willow Grove Place North. Dublin. Ohio 43017.

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure. Plaintiffs request that the
above-named Defendant. Dustin Charles Bradford (hereinafter referred to as "Defendant"").
disclose. within fifty-one (51) days after the date of service of this request. the information or
material described in Rule 194.2.

                                             Respectfully submitted.

                                             MOSTYN LAW




                                              Is/ Amber Anderson Mostvn
                                             Amber Anderson Mostyn
                                             State Bar No. 90001704
                                             Molly K. Bowen
                                             State Bar No. 24069898
                                             ala_teamefile@mostynlaw.com
                                             3810 W. Alabama St.
                                             Houston. Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEYS FOR PLAINTIFFS
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                                        "EXHIBIT B-1"
                                CAUSE NO. __________

 FRANCISCO RIZO AND                             §              IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                               §
     Plaintiffs,                                §
                                                §
 v.                                             §                   BEXAR COUNTY, TEXAS
                                                §
 STATE AUTO PROPERTY &                          §
 CASUALTY INSURANCE                             §
 COMPANY AND DUSTIN CHARLES                     §
 BRADFORD,                                      §
      Defendants.                               §                ____ JUDICIAL DISTRICT

        PLAINTIFFS' FIRST REOUEST FOR PRODUCTION TO DEFENDANT
                        DUSTIN CHARLES BRADFORD

TO:    DEFENDANT DUSTIN CHARLES BRADFORD, at his place of residence at 5191
       Willow Grove Place Notih, Dublin, Ohio 43017.

        Pursuant to Rule 196 of the Texas Rules of Civil Procedure, Plaintiffs request that the
above-named Defendant, Dustin Charles Bradford (hereinafter referred to as "Defendant"),
disclose, within fifty-one (51) days after the date of service of this request, the information or
material described in the following request for production.

                                             Respectfully submitted,

                                             MOSTYN LAW




                                              Is/ Amber Anderson Mostyn
                                             Amber Anderson Mostyn
                                             State Bar No. 90001704
                                             Molly K. Bowen
                                             State Bar No. 24069898
                                             ala_teamefile@mostynlaw.com
                                             3810 W. Alabama St.
                                             Houston, Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEYS FOR PLAINTIFFS
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                                     DEFINITIONS

       The following definitions shall have the following meanings, unless the context of the
discovery request requires otherwise:

I. "Document" means any textual, visual and auditory information items in all forms in which
   they are stored and/or communicated.

2. "Person" means an individual, corporation, association, pminership, reciprocal or
   interinsurance exchange, Lloyd's plan, fraternal benefit society, agent, broker, adjuster,
   contractor/estimator, engineer, independent contractor, or employee.

3. "Handle", handled", "handling", and/or "worked on" - any person, as defined above, that
   made a decision, investigated, adjusted, consulted, supervised, managed, settled, approved,
   provided information or otherwise performed a task relating to the claims made the basis of
   this lawsuit, excluding persons performing purely ministerial or clerical tasks.

4. "Policy" refers to the policy of insurance in effect on the date that the loss made the basis of
   this lawsuit occurred.

5. "Property" refers to the residence, dwelling, other structures, and personal property covered
   by the Po !icy, as defined above, made the basis of this lawsuit.

6. "Bexar County Hailstorm" and/or "April 25, 2015 hail and windstorm" refer to the hail
   and/or windstorm that occurred during the month of April of 2015 in Bexar County and
   surrounding areas.

7. "Describe," when referring to a document, is defined to require that you state the following:

       a.      The nature (e.g., letter, handwritten note) of the document;
       b.      The title or heading that appears on the document;
       c.      The date of the document and the date of each addendum supplement, or other
               addition or change;
       d.      The identity of the author and of the signer of the document, and of the person on
               whose behalf or at whose request or direction the document was prepared or
               delivered;
       e.      The present location of the document, and the name, address, position, or title,
               and telephone number of the person or person having custody of the document.




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     PRODUCTION PROTOCOL RELATING TO ELECTRONICALLY STORED
      INFORMATION (ESI) ATTENDANT TO PLAINTIFFS' DISCOVERY TO
                             DEFENDANT

I.   "Information items" as used here encompass individual documents and records (including
     associated metadata) whether on paper or film, as discrete "files" stored electronically,
     optically or magnetically or as a record within a database, archive or container file. The
     term should be read broadly to include e-mails, messaging, word processed documents,
     digital presentations and spreadsheets.

2.   Consistent with Tex. R. Civ. P. 196.4, responsive electronically stored information (ESI) has
     been requested by the Plaintiff(s) in its native form; that is, in the form in which the
     information was customarily created, used and stored by the native application employed by
     the producing party in the ordinary course of business. The producing party shall not
     produce in a format not requested and later assert that production as a basis of not producing
     in the requested format, except upon agreement by the patiies prior to production or ordered
     by the Court. The parties are reminded of their obligation to confer and to make reasonable
     efforts to resolve disputes regarding production without court intervention. See In re
     Weekley Homes. L.P., 295 S.W. 3d 309 (Tex. 2009); Tex. R. Civ. P. 192.4(b).

3.   If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
     form, it may be produced in an agreed-upon near-native form; that is, in a form in which the
     item can be imported into the native application without a material loss of content, structure
     or functionality as compared to the native form. Static image production formats serve as
     near-native alternatives only for information items that are natively static images (i.e.,
     photographs and scans). Any and all agreements between the patiies on a non-native form of
     production shall occur prior to initial production and the agreements shall be in writing. If no
     agreement can be made between the patiies, consistent with Texas Rules of Civil Procedure
     196.4, Defendant will object and file with the Court evidence that production in native or
     near-native form is unduly burdensome or requires extraordinary steps. In the event the
     Court determines that production in native or near-native format is infeasible, production
     shall be made in accordance with Instruction No.6 of this Protocol.

4.   The table below supplies examples of agreed-upon native or near-native forms in which
     spec 1"fi1c types ofESI shou ld be pro duce d :
                                        ...
      Source ESI                 ·..             Native or Near Native Form or Forms Sought
      Microsoft Word documents                   .DOC, .DOCX
      Microsoft Excel Spreadsheets               .XLS, .XLSX
      Microsoft PowerPoint Presentations .PPT, .PPTX
      Microsoft Access Databases                 .MDB, .ACCDB
      WordPerfect documents                      .WPD
      Adobe Acrobat Documents                    .PDF
      Photographs                                .JPG, .PDF




                                                                                                   3
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     Xactimate Documents                   .ESX
     E-mail                                Messages should be produced in a form or forms
                                           that readily support import into standard e-mail
                                           client programs; that is, the form of production
                                           should adhere to the conventions set out in RFC
                                           5322 (the internet e-mail standard). For Microsoft
                                           Exchange or Outlook messaging, .PST format will
                                           suffice. Single message production formats like
                                           .MSG or .EML may be furnished, if source
                                           fo ldering data is preserved and produced. For
                                           Lotus Notes maiL furnish .NSF files or convert to
                                           .PST. If your workflow requires that attachments
                                           be extracted and produced separately from
                                           transmitting messages, attachments should be
                                           produced in their native forms with parent/child
                                           relationships to the message and container(s)
                                           preserved and produced in a delimited text file.

5.   Absent a showing of need, a party shall only produce reports from databases that can be
     generated in the ordinary course of business (i.e., without specialized programming skills),
     and these shall be produced in a delimited electronic format preserving field and record
     structures and names. The parties will meet and confer prior to initial production regarding
     programmatic database productions as necessary.

6.   Information items that are paper documents or that require redaction shall be produced in
     static image formats, e.g., single-page .TIF or multipage PDF images. If an information
     item contains co lor, the producing party shall not produce the item in a form that does not
     display co lor. The full content of each document will be extracted by optical character
     recognition (OCR) or other suitable method to a searchable text file produced with the
     corresponding page image(s) or embedded within the image file.

7.   Parties shall take reasonable steps to ensure that text extraction methods produce usable,
     accurate and complete searchable text.

8.   Individual information items requiring redaction shall (as feasible) be redacted natively
     or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability to
     electronically search the unredacted portions of the item To the extent a producing party
     asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
     feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
     without Court intervention. If the dispute cannot be resolved between the parties, the
     manner of production can be brought before the Court consistent with Tex. R. Civ. P.
     196.4.

9.   Upon a showing of need, a producing party shall make a reasonable effort to locate and
     produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
     agree to meet and confer prior to initial production regarding production of any such


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       documents. This provision shall not serve to require a producing party to reveal redacted
       content.

I 0.   Except as set out in this Protocol, a party need not produce identical information items in
       more than one form and shall globally de-duplicate identical items across custodians
       using each document's unique MD5 hash value. The content, metadata and utility of an
       information item shall all be considered in determining whether information items are
       identical, and items reflecting different information shall not be deemed identical.

II.    Production should be made using appropriate electronic media of the producing party's
       choosing provided that the production media chosen not impose an undue burden or
       expense upon a recipient. All productions should be encrypted for transmission to the
       receiving party. The producing party shall, contemporaneously with production, supply
       decryption credentials and passwords to the receiving party for all items produced in an
       encrypted or password-protected form.

12.    Each information item produced shall be identified by naming the item to correspond to a
       Bates identifier according to the following protoco 1:


        1.     The first four (4) characters of the filename will reflect a unique alphanumeric
               designaiion identifying the party making production;

        11.    The next nine (9) characters will be a unique, consecutive numeric value assigned
               to the item by the producing party. This value shall be padded with leading zeroes
               as needed to preserve its length;

        ill.   The final five (5) characters are reserved to a sequence beginning with an
               underscore (_) followed by a four digit number reflecting pagination of the item
               when printed to paper or converted to an image format for use in proceedings or
               when attached as exhibits to pleadings.

        lV.    By way of example, a Microsoft Word document produced by Republic Lloyds in
               its native format might be named: REPL000000123.docx. Were the document
               printed out for use in deposition, page six of the printed item must be embossed
               with the unique identifier REPLOOOOOOI23_0006.

13.    Information items designated "Confidential" may, at the Producing Party's option:

        a. Be separately produced on electronic production media prominently labeled
           "Confidential" to comply with a Protective Order, if applicable.

        b. When any item so designated is converted to a printed format for any reason or
           imaged format for use in any submission or proceeding, the printout or page image
           shall bear be labeled "Confidential" on each page in a clear and conspicuous
           manner, but not so as to obscure content.



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14.    Producing party shall furnish a delimited load file supplying the metadata field values
       listed below for each information item produced (to the extent the values exist and as
       applicable):

      .EiJilil
      BeginBates
      EndBates
      BeginAttach
      EndAttach
      Custodian/Source
      Source File Name
      Source File Path
      From/ Author
      To
      cc
      BCC
      Date Sent
      Time Sent
      Subject/Title
      Last Modified Date
      Last Modified Time
      Document Type
      Redacted Flag (yes/no)
      Hidden Content/Embedded Objects Flag (yes/no)
      Confidential flag (yes/no)
      MDS Hash value
      Hash De-Duplicated Instances (by full path)

15.   Each production should include a cross-reference load file that correlates the vartous
      files, images, metadata field values and searchable text produced.

16.   Pm1ies shall respond to each request for production by listing the Bates numbers/ranges
      of responsive documents produced, and where an information item responsive to these
      discovery requests has been withheld or redacted on a claim that it is privileged, the
      producing party shall furnish a privilege log in accordance with Texas Rule of Civil
      Procedure 193.3.




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     PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION TO DEFENDANT

I.   All documents related to Plaintiffs, the Property, the Policy, and/or the claim made the
     basis of this Lawsuit.

     RESPONSE:


2.   All licenses or cetiifications that are identified in response to lntenogatory Number 3.

     RESPONSE:


3.   All trammg documents you have for adjusting hail and/or windstorm claims.              This
     request is limited to the past 2 years.

     RESPONSE:


4.   All applications you submitted (or submitted on your behalf) for purposes of obtaining a
     license to adjust claims in the State of Texas that were in effect at the time of the Bexar
     County Hailstorms occurring on or about April 25, 2015.

     RESPONSE:


5.   All resumes for the last five (5) years.

     RESPONSE:


6.   All applications for employment you submitted for purposes of obtaining employment as
     an adjuster and/or claims handler in the State of Texas. This request is limited to the five
     (5) years preceding the Bexar County Hailstorms occurring on or about April25, 2015.

     RESPONSE:


7.   All documents you relied upon in the adjustment of the claim made the basis of this
     Lawsuit.

     RESPONSE:




                                                                                                7
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8.     To the extent you made a determination or recommendation regarding depreciation, all
       documents relating to the application of depreciation on a homeowners property claim in
       the State of Texas for the past two (2) years.

       RESPONSE:


9.     To the extent you made a determination or recommendation regarding overhead and
       profit, all documents relating to the application of overhead and profit on a homeowners
       property claim in the State of Texas for the past two (2) years.

       RESPONSE:


I 0.   All documents or items in your possession related to the claim made the basis of this
       Lawsuit that you did not submit to the insurance company and/or adjusting company
       assigned to this claim.

       RESPONSE:


II.    All documents meant to instruct, advise, or guide the handling or adjusting hail and/or
       windstorm claims in the State of Texas for the last 2 years.

       RESPONSE:


12.    All training manuals in effect at the time of Plaintiffs' claim used for software programs
       utilized in the claim made the basis of this lawsuit.

       RESPONSE:


13.    All documents relating to any performance reviews or evaluations by the carrier of the
       underlying claim, whether formal or informal, regarding your handling of claims arising
       out of the Bexar County Hailstorms occurring on or about April25, 2015.

       RESPONSE:


14.    All documents relating to any Texas Department of Insurance complaints made against
       you by an insured related to claims arising out of the Bexar County Hailstorms occurring
       on or about April25, 2015.

       RESPONSE:




                                                                                                8
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15.   All contracts, indemnity agreements, and/or confidentiality agreements between you and
      the adjusting company and/or insurance company in effect during the handling of claims
      arising out of the Bexar County Hailstorms occurring on or about April25, 2015.

      RESPONSE:


16.   All price lists used by you in handling claims arising out of the Bexar County Hailstorms
      occurring on or about April 25, 2015. To the extent the price list is an unmodified
      price list fi·om a third party, you can reference the vendor and version of the price list with
      a stipulation that it is unmodified.

      RESPONSE:


17.   All weather rep01is regarding wind and/or hail relied upon by you in handling claims
      arising out of the Bexar County Hailstorms occurring on or about April 25, 2015.

      RESPONSE:


18.   All correspondence to or from the adjusting company and/or the insurance company that
      issued the policy regarding modifying/modifications to the unit price cost and the price
      list you used in handling claims arising out of the Bexar County Hailstorms occurring on
      or about April 25, 2015.

      RESPONSE:




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                                        "EXHIBIT C-1"
                                CAUSE NO. _ _ _ _ __

 FRANCISCO RIZO AND                            §               IN THE DISTRICT COURT OF
 HERMELINDA RIZO,                              §
     Plaintiffs,                               §
                                               §
 v.                                            §                    BEXAR COUNTY, TEXAS
                                               §
 STATE AUTO PROPERTY &                         §
 CASUALTY INSURANCE                            §
 COMPANY AND DUSTIN CHARLES                    §
 BRADFORD,                                     §
      Defendants.                              §                 _ _ JUDICIAL DISTRICT

         PLAINTIFF FRANCISCO RIZO'S FIRST SET OF (CLAIM SPECIFIC)
       INTERROGATORIES TO DEFENDANT DUSTIN CHARLES BRADFORD

TO:    DEFENDANT DUSTIN CHARLES BRADFORD, at his place of residence at 5191
       Willow Grove Place North, Dublin, Ohio 43017.

       Pursuant to Rule 197 of the Texas Rules of Civil Procedure, Plaintiff Francisco Rizo
requests that the above-named Defendant, Dustin Charles Bradford (hereinafter referred to as
"Defendant"), disclose, within fifty-one (51) days after the date of service of this request, the
information or material described in the following set of interrogatories.

                                             Respectfully submitted,

                                             MOSTYN LAW




                                             Is/ Amber Anderson Mostyn
                                            Amber Anderson Mostyn
                                            State Bar No. 90001704
                                            Molly K. Bowen
                                            State Bar No. 24069898
                                            ala_teamefile@mostynlaw.com
                                            3810 W. Alabama St.
                                            Houston, Texas 77027
                                            (713) 714-0000 (Office)
                                            (713) 714-1111 (Facsimile)

                                            ATTORNEYS FOR PLAINTIFFS
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                                      DEFINITIONS

       The following definitions shall have the following meanings, unless the context of the
discovery request requires otherwise:

l. "Document" means any textual, visual and auditory information items in all forms in which
   they are stored and/or communicated.

2. "Person" means an individual, corporation, assocmt10n, partnership, reciprocal or
   interinsurance exchange, Lloyd's plan, fraternal benefit society, agent, broker, adjuster,
   contractor/estimator, engineer, independent contractor, or employee.

3. "Handle", handled", "handling", and/or "worked on" - any person, as defined above, that
   made a decision, investigated, adjusted, consulted, supervised, managed, settled, approved,
   provided infonnation or otherwise performed a task relating to the claims made the basis of
   this lawsuit, excluding persons performing purely ministerial or clerical tasks.

4. "Policy" refers to the policy of insurance in effect on the date that the loss made the basis of
   this lawsuit occurred.

5. "Property" refers to the residence, dwelling, other structures, and personal property covered
   by the Policy, as defined above, made the basis of this lawsuit.

6. "Bexar County Hailstorm" and/or "April 25, 2015 hail and windstorm" refer to the hail
   and/or windstmm that occurred during the month of April of 2015 in Bexar County and
   surrounding areas.

7. "Describe," when referring to a document, is defined to require that you state the following:

       a.       The nature (e.g., letter, handwritten note) of the document;
       b.       The title or heading that appears on the document;
       c.       The date of the document and the date of each addendum supplement, or other
                addition or change;
       d.       The identity of the author and of the signer of the document, and of the person on
                whose behalf or at whose request or direction the document was prepared or
                delivered;
       e.       The present location of the document, and the name, address, position, or title,
                and telephone number of the person or person having custody of the document.




                                                                                                   2
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     PRODUCTION PROTOCOL RELATING TO ELECTRONICALLY STORED
      INFORMATION (ESI) ATTENDANT TO PLAINTIFFS' DISCOVERY TO
                             DEFENDANT

l.   "Information items" as used here encompass individual documents and records (including
     associated metadata) whether on paper or film, as discrete "files" stored electronically,
     optically or magnetically or as a record within a database, archive or container file. The
     term should be read broadly to include e-mails, messaging, word processed documents,
     digital presentations and spreadsheets.

2.   Consistent with Tex. R. Civ. P. 196.4, responsive electronically stored information (ESI) has
     been requested by the Plaintiff(s) in its native form; that is, in the form in which the
     information was customarily created, used and stored by the native application employed by
     the producing party in the ordinary course of business. The producing party shall not
     produce in a format not requested and later assert that production as a basis of not producing
     in the requested format, except upon agreement by the parties prior to production or ordered
     by the Court. The parties are reminded of their obligation to confer and to make reasonable
     effmis to resolve disputes regarding production without court intervention. See In re
     Weekley Homes. L.P., 295 S.W. 3d 309 (Tex. 2009); Tex. R. Civ. P. l92.4(b).

3.   If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
     form, it may be produced in an agreed-upon near-native form; that is, in a form in which the
     item can be impmied into the native application without a material loss of content, stmcture
     or functionality as compared to the native form. Static image production formats serve as
     near-native alternatives only for information items that are natively static images (i.e.,
     photographs and scans). Any and all agreements between the parties on a non-native form of
     production shall occur prior to initial production and the agreements shall be in writing. If no
     agreement can be made between the parties, consistent with Texas Rules of Civil Procedure
     196.4, Defendant will object and file with the Comi evidence that production in native or
     near-native form is unduly burdensome or requires extraordinary steps. In the event the
     Comi determines that production in native or near-native format is infeasible, production
     shall be made in accordance with Instruction No.6 of this Protocol.

4.   The table below supplies examples of agreed-upon native or near-native forms in which
     spec1.fi1c types of ESI shou ld be pro duce d :
      Source ESI .·        .·· ; . ' .···:       Native or. Near Native Form or Forms Sought
      Microsoft Word docmnents                   .DOC, .DOCX
      Microsoft Excel Spreadsheets               .XLS, .XLSX
      Microsoft PowerPoint Presentations .PPT, .PPTX
      Microsoft Access Databases                 .MDB, .ACCDB
      WordPerfect documents                      .WPD
      Adobe Acrobat Documents                    .PDF
      Photographs                                .JPG, .PDF




                                                                                                   3
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     Xactirnate Documents                  .ESX
     E-mail                                Messages should be produced in a form or forms
                                           that readily suppmi import into standard e-mail
                                           client programs; that is, the form of production
                                           should adhere to the conventions set out in RFC
                                           5322 (the internet e-mail standard). For Microsoft
                                           Exchange or Outlook messaging, .PST format will
                                           suffice. Single message production formats like
                                           .MSG or .EML may be furnished, if source
                                           fo ldering data is preserved and produced. For
                                           Lotus Notes mai~ furnish .NSF files or convert to
                                           .PST. If your workflow requires that attachments
                                           be extracted and produced separately from
                                           transmitting messages, attachments should be
                                           produced in their native forms with parent/child
                                           relationships to the message and container( s)
                                           preserved and produced in a delimited text file.

5.   Absent a showing of need, a party shall only produce reports from databases that can be
     generated in the ordinary course of business (i.e., without specialized programming skills),
     and these shall be produced in a delimited electronic format preserving field and record
     structures and names. The parties will meet and confer prior to initial production regarding
     programmatic database productions as necessary.

6.   Information items that are paper documents or that require redaction shall be produced in
     static image formats, e.g., single-page .TIF or multipage PDF images. If an information
     item contains color, the producing party shall not produce the item in a form that does not
     display color. The full content of each document will be extracted by optical character
     recognition (OCR) or other suitable method to a searchable text file produced with the
     corresponding page image(s) or embedded within the image file.

7.   Parties shall take reasonable steps to ensure that text extraction methods produce usable,
     accurate and complete searchable text.

8.   Individual information items requiring redaction shall (as feasible) be redacted natively
     or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability to
     electronically search the unredacted portions of the item. To the extent a producing party
     asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
     feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
     without Court intervention. If the dispute cannot be resolved between the parties, the
     manner of production can be brought before the Court consistent with Tex. R. Civ. P.
     196.4.

9.   Upon a showing of need, a producing party shall make a reasonable effort to locate and
     produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
     agree to meet and confer prior to initial production regarding production of any such


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       documents. This provision shall not serve to require a producing party to reveal redacted
       content.

l 0.   Except as set out in this Protocol, a party need not produce identical information items in
       more than one form and shall globally de-duplicate identical items across custodians
       using each document's unique MD5 hash value. The content, meta data and utility of an
       information item shall all be considered in determining whether information items are
       identical, and items reflecting different information shall not be deemed identical.

ll.    Production should be made using appropriate electronic media of the producing party's
       choosing provided that the production media chosen not impose an undue burden or
       expense upon a recipient. All productions should be encrypted for transmission to the
       receiving party. The producing party shall, contemporaneously with production, supply
       decryption credentials and passwords to the receiving party for all items produced in an
       encrypted or password-protected form.

12.    Each information item produced shall be identified by naming the item to correspond to a
       Bates identifier according to the following protocol:


        1.    The first four (4) characters of the filename will reflect a unique alphanumeric
              designation identifying the party making production;

        11. The next nine (9) characters will be a unique, consecutive numeric value assigned
            to the item by the producing party. This value shall be padded with leading zeroes
            as needed to preserve its length;

        111. The final five (5) characters are reserved to a sequence beginning with an
             underscore L) followed by a four digit number reflecting pagination of the item
             when printed to paper or converted to an image format for use in proceedings or
             when attached as exhibits to pleadings.

        1v. By way of example, a Microsoft Word document produced by Republic Lloyds in
            its native format might be named: REPLOOOOOOl23.docx. Were the document
            printed out for use in deposition, page six of the printed item must be embossed
            with the unique identifier REPL000000123_0006.

13.    Information items designated "Confidential" may, at the Producing Party's option:

        a. Be separately produced on electronic production media prominently labeled
           "Confidential" to comply with a Protective Order, if applicable.

        b. When any item so designated is converted to a printed format for any reason or
           imaged format for use in any submission or proceeding, the printout or page image
           shall bear be labeled "Confidential" on each page in a clear and conspicuous
           manner, but not so as to obscure content.



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14.    Producing party shall furnish a delimited load file supplying the metadata field values
       listed below for each information item produced (to the extent the values exist and as
       applicable):

      fuld
      BeginBates
      EndBates
      BeginAttach
      EndAttach
      Custodian/Source
      Source File Name
      Source File Path
      From/ Author
      To
      cc
      BCC
      Date Sent
      Time Sent
      Subject/Title
      Last Modified Date
      Last Modified Time
      Document Type
      Redacted Flag (yes/no)
      Hidden Content/Embedded Objects Flag (yes/no)
      Confidential flag (yes/no)
      MD5 Hash value
      Hash De-Duplicated Instances (by full path)

15.   Each production should include a cross-reference load file that correlates the various
      files, images, metadata field values and searchable text produced.

16.   Parties shall respond to each request for production by listing the Bates numbers/ranges
      of responsive documents produced, and where an information item responsive to these
      discovery requests has been withheld or redacted on a claim that it is privileged, the
      producing party shall furnish a privilege log in accordance with Texas Rule of Civil
      Procedure 193.3.




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       PLAINTIFF FRANCISCO RIZO'S FIRST SET OF (CLAIM SPECIFIC)
                   INTERROGATORIES TO DEFENDANT

l.   Identify all email accounts, email addresses, and/or any alias or code used to identify you
     and used for any communication relating to your work handling hail and/or windstorm
     claims arising out of the Bexar County Hailstorms occurring on or about April 25, 2015.
     This request is limited only to the carrier of the claim that is the subject of this Lawsuit.

     ANSWER:


2.   Identify generally the training or experience you had in adjusting hail and/or windstorm
     damage and any specific training you had for this storm prior to your handling of claim
     made the basis of this Lawsuit.

     ANSWER:


3.   Identify any degrees, Texas insurance licenses (unless you qualified for adjusting claims
     in Texas on an emergency basis, then list any insurance licenses you held from other
     states) or certifications you had at the time you handled the claim made the basis of this
     Lawsuit.

     ANSWER:


4.   Explain how you were compensated and by whom for your work on claims arising out of
     the Bexar County Hailstorms occurring on or about April 25, 2015, stating the amount
     you were compensated per claim, per day, and/or per week and identifying any bonus or
     incentive plans. To the extent the produced personnel file includes a compensation
     schedule, you may refer to such personnel file.

     ANSWER:


5.   State whether you are fluent in Spanish and whether you had any communication relating
     to the claim made the basis of this Lawsuit in Spanish. If you are not fluent in Spanish,
     state whether you are proficient in Spanish to communicate to adjust a claim.

     ANSWER:




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6.   Identify the following dates:

     a. The date you first obtained an adjuster license in the State of Texas;
     b. The first date you were hired/retained by the insurance company defendant or any
        other defendant in this Lawsuit to adjust property damage claims;
     c. The date you were first assigned to handle Bexar County Hailstorms occurring on or
        about April25, 2015;
     e. The date you closed your file on the claim made the basis of this Lawsuit; and
     f. The last date you worked on any Bexar County Hailstorms occmTing on or about
        April25, 2015.

     ANSWER:


7.   Describe in detail each inspection you conducted of the Prope1iy made the basis of this
     Lawsuit, identifying:

     a.    The name and job title of any person who inspected the Property with you;
     b.    The date of each inspection;
     c.    The purpose of each inspection;
     d.    The length of time of each inspection;
     e.    The equipment or tools used during each inspection;
     f.    The areas of the Property inspected (i.e. roof, attic, individual rooms, exterior); and
     g.    Any documents generated during or as a result of each inspection, including the
           persons and/or entities in possession of those documents.

     ANSWER:


8.   Following the inspection(s), did you engage in any additional communications (e.g.,
     telephone, in person, written communication) with Plaintiff(s)? If yes, provide the
     following information:

     a.   the date of such communication(s);
     b.   the manner of such communication(s);
     c.   the person to whom You communicated;
     d.   the reason for the communication(s);
     e.   for any telephonic communication(s), identify who initiated the phone call, and the
          telephone number from which you called or on which you received the call; and
     f.   the general substance of the communication.

     ANSWER:




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9.     Identify and describe all damage you observed during your inspection(s) of the claim
       made the basis of this Lawsuit. To the extent the damage you observed during your
       inspection is reflected in scope notes and photographs, you can refer Plaintiff(s) to such
       scope notes and/or photographs.

       ANSWER:


l 0.   For all damage observed at the Prope1iy or reflected in your scope notes and/or
       photographs, state what your believe to be the cause of the damage, describing the
       investigatory steps you took to determine the cause, and identify all person(s) and/or
       entity(ies) that provided information or participated in that determination.

       ANSWER:


ll.    To the extent you applied or recommended policy exclusions, identify all exclusions
       under the Policy applied to the claim made the basis of this Lawsuit, and for each
       exclusion applied or recommended, state the factual reason(s) that the exclusion was
       applied or recommended.

       ANSWER:


12.    Identify the information you used to determine and how you calculated the amount of
       depreciation that you applied to any damage categories included in any estimates you
       prepared and/or approved on the claim made the basis of this Lawsuit.

       ANSWER:


13.    How did you determine whether you would or would not apply overhead and profit
       (O&P) to Plaintiffs' claim?

       ANSWER:



14.    Identify all documents that you relied upon in the adjustment of the claim made the basis
       of this Lawsuit. For each document, identify who provided the document.

       ANSWER:




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15.    Identify all documents or information you requested from Plaintiff(s) during the
       investigation of the claim made the basis of this Lawsuit, the date the request was made,
       the person who communicated the request, and the Plaintiff(s) who received the request.

       ANSWER:


16.    Identify all documents or items in your possession related to the claim made the basis of
       this Lawsuit that you did not submit to the insurance company and/or adjusting company
       assigned to this claim.

       ANSWER:


l 7.   To the extent you are aware, identify all documents or items that were altered, revised,
       changed or removed from the documents or information you provided the insurance
       company or adjusting company relating to the claim made the basis of this Lawsuit.

       ANSWER:


18.    Identify and describe any training, guidance or instruction provided to you by any person
       and/or entity regarding the handling of claims arising out of the Bexar County Hailstorms
       occurring on or about April25, 2015.

       ANSWER:




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